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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and Cthen ag ee
AUDREE WILSON, an individual, Pb ED Ory
Plaintiffs,
Vv. No’ CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation,

Defendant.
MEMORANDUM IN SUPPORT OF MOTION FOR
PRECLUSION ORDER UNDER RULE 37(c) (1) FOR FAILURE TO COMPLY
WITH RULE 26 (a) (2) CONCERNING DISCLOSURE OF EXPERT REPORTS
I. Introduction

Under the Court’s Scheduling Order of July 11, 1996,
plaintiffs were required to provide the reports of their trial
experts by November 15, 1996. On November 18, 1996 Defendant
received three documents purporting to meet the disclosure
requirements of Rule 26 (a) (2). Two of these documents were
"declarations", in affidavit form, of a Barry Fey and a Mark
Kaplan. The declarations were not accompanied by a report. The
other document, a report by one Marilyn A. Lashner and a Coding
Manual explaining certain terms used in the report, was also
submitted along with her declaration.

Each of the submissions materially fails to comply with the
requirements of Rule 26(a) (2). The Fey and Kaplan declarations
fail to make even a modest gesture toward compliance with the
disclosure requirements of Rule 26(a) (2). The Lashner report,

including her declaration and the coding manual, fails to

‘provide the information required by Rule 26(a) (2), particularly

 

 
 

 

 

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the pertinent underlying data on which her opinion is based.
Because plaintiffs have previously failed to comply with the
Court’s discovery deadlines regarding expert reports in Phase I
of this case and because the deficiencies in the declarations
and reports submitted on November 15, 1996 are so comprehensive
as to constitute a total disregard of plaintiffs’ discovery
obligations under Rule 26(a) (2), the Court should preclude the
admission of any testimony from these three experts witnesses at
trial as a sanction pursuant to Rule 37(c) (1).

II. Rule 26 (a) (2)

Rule 26(a) (2) was adopted to eliminate the gamesmanship
that typified discovery from experts under the predecessor rule.
Prior to Rule 26(a)(2) the parties were required to propound
interrogatories to obtain minimal information regarding expected
expert testimony, seek leave of the court to depose an expert
witness, and then spend inordinate amounts of time at the
deposition discovering his opinion testimony, its underlying
bases, the supporting data, and background information
concerning witness fees and prior testimonial experience.
Reports generated by experts were often designed to disclose
minimal information to opposing counsel; the underlying data and
reasoning were typically absent or unavailable before
deposition; and expert depositions dragged out for extended
periods of time, were rarely completed in one sitting, and were

frequently retaken.
 

 

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Rule 26(a) (2) radically altered the regime of nondisclosure
and evasion of the pre-1993 years. Rule 26(a) (2) (B) requires a
party to provide a comprehensive statement not only of the
subject matter of the opinion, but of the opinion itself, the
reasoning and bases for the opinion, the data considered by the
witness in forming the opinion, and any exhibits to be used as
a summary of or in support of opinions. In addition, Rule
26(a) (2) reports must include a list of publications authored by
the witnesses within the preceding ten (10) years; the
compensation to be paid for the study and testimony; anda
listing of any other cases in which the expert witness has
testified as an expert at trial or by deposition in the
preceding four years. Information not included in the report is
excludable under Rule 37(c) (1).

Beyond its general goal of complete, pre-deposition
disclosure, Rule 26(a) (2) was intended to reduce and simplify
discovery by giving an opposing party the opportunity to address
only those opinions which would actually be rendered at trial
and to analyze the supportive data and reasoning in preparing
its own expert reports. By requiring a comprehensive
specification of the opinions, their bases, and the underlying
data, the opposing party would be able to prepare its own report
without having to guess at the issues actually in contention.

Finally, a major purpose of the Rule 26 (a) (2) requirement
was to reduce the time for taking of the expert’s deposition or

alternatively, eliminate entirely the need for a deposition.
  

 

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III. Plaintiffs’ Expert Declarations And Report Materially Fail
To Provide The Information Required by Rule 26 (a) (2)

AR review of the documents provided by plaintiffs
demonstrate that the declarations and the one report submitted
fail to address, much less provide, the information required by
the rule. In order to facilitate the analysis of each of these

declarations, copies of which are attached as exhibits to this

 

motion, defendant will examine each report and demonstrate its
inadequacies under Rule 26(a) (2) (B). (See Exhibit 1 (Fey
Declaration); Exhibit 2 (Kaplan Declaration) ; Exhibit 3 (Lashner
Declaration); Exhibit 4 (Lashner Report) ; Exhibit 5 (Lashner
Coding Manual) .)

A. Complete Statement of Opinions to Be Expressed and The
Basis and Reasons Therefor, And Underlying Data

Declaration of Barry Fey

The declaration of Barry Fey states bald opinions and
nothing more. The first seven paragraphs of the declaration
address Fey’s qualifications as a promoter of rock concerts and
his impression that the Beach Boys were "family type
entertainment." (Para. 7.) The major opinion expressed is that
the Beach Boys’ marketability changed after publication and that
the book "was perceived and talked about amongst disc jockeys
and others in the music industry as presenting to the public the
dirty truth that the quest for the almighty dollar was the
driving force behind the band with total disregard to the
consequences (mental and physically) to Brian Wilson, and that

instead of being a close knit family America thought they were,
 

 

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the Beach Boys brothers were victims of flagrant child abuse."
(Para. 8.) Moreover, the declaration asserts that the Beach
Boys became the object of ridicule by disc jockeys and that "it
became increasingly difficult for anyone to be enthusiastic
about the Beach Boys following the publication of the book."
(Para. 8.) The only specific information set forth in the
entire declaration is found in paragraph 9 in which Fey recounts

that he is involved in planning an Oldies Radio 1997 Summer

 

Concert and that "the Beach Boys have been ruled out by all
involved parties."

Clearly, this affidavit does not even begin to provide the
information required by Rule 26(a) (2). No data or other
supporting information is specified by the witness. Indeed, the
affidavit appears to be based on undisclosed hearsay statements
by unidentified declarants at unknown times. While it is
doubtful that plaintiffs could ever show that experts in this
field reasonably rely on this kind of information in rendering
opinions, see Fed. R. Evid. Rule 703, the hearsay statements are
the data on which the opinion appears to be based and should
have been disclosed. Fey never identifies the disc jockeys who
perceive the Beach Boys differently, and he fails to make
reference to any other data establishing different patterns of
airtime for Beach Boys records after the publication of the
book.

The basis for the statement that the Beach Boys have become

the object of ridicule is similarly unsupported by any data or
  

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other basis. Moreover, the statement "it became increasingly
difficult for anyone to be enthusiastic about the Beach Boys

following the publication of the book" is simply an

 

unsubstantiated assertion without any underlying reasoning, data
or reasoning to explain why or how the conclusion is reached.

Moreover, the statement that the Beach Boys "have been
ruled out by all involved parties" from the Cool Oldies Radio
1997 Summer Concert (para. 9.) informs the defendant of
virtually nothing in terms of the identities of the "parties,"
the previous years that the Beach Boys appeared at the concert,
and the reasons why the involved parties ruled them out.
Clearly, this declaration was concocted without even a nod
toward the requirements of Rule 26(a) (2). The Court should bar
any testimony from Mr. Fey at trial for substantial failure to
comply with Rule 26 (a) (2).

Declaration of Mark Kaplan

The Kaplan declaration is even more deficient. While Fey at
least gave a bald opinion, albeit unsupported by reasoning or
data, Kaplan does not even do that. Kaplan states that he will
testify as a lay and a fact witness. Kaplan purports to offer
expert testimony on the nature of the "music industry accounting
practices" (para. 4.) and other matters, and it is doubtful that
his testimony even about the books and records of Brother
Records and Brother Tours can be limited to purely lay testimony

without reliance on accounting expertise.
  

 

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Mr. Kaplan’s "declaration" is a masterpiece in evasion and
flouting of Rule 26(a) (2). First, he disclaims that he has even
formulated an opinion regarding his analysis of revenues and
profits received by the Beach Boys before and after publication
of the book. He apparently has not reviewed the information
prepared by the Beach Boys’ prior accountants and expresses his
intention to rely on "any accounting and royalty records

obtained by defendant via subpoena or otherwise, and any other

 

accounting records produced in discovery." (Para. 5.) In short,
Mr. Kaplan is apparently waiting to rely on defendant’s
discovery of Carl Wilson’s records in order to render an opinion
on behalf of Carl Wilson!! It is hardly an excuse for failing
to file a timely and complete expert report that one’s client
has failed to provide necessary data generated by his own
business entities.

Moreover, in speculating on his future testimony, Kaplan
purports to rely on his "understanding of the Beach Boys’

business practices and contractual relationships, including the

 

1 Because of the failure of plaintiff Carl Wilson to produce
the complete financial records of Brother Records and Brother Tours
for the relevant time periods, Harpercollins was forced to subpoena
Brother Records and Brother Tours in an effort to obtain complete
records concerning touring, merchandising, and recording revenues
and related expenses. These records were not made available by the
entities subpoenaed until November 18, 1996 and the records for the
periods 1990 through 1992 were not produced until November 22,
1996. Even this production is not complete. Both counsel for
plaintiffs and counsel for Brother Records and Brother Tours have
represented to Harpercollins during the course of the production
that Kaplan is the custodian of these records. Under the
circumstances, it is a mystery why he would not have them available
to review in preparing his expert report.

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manner in which various revenues are paid, and further, my
understanding music industry accounting practices". (Para. 5.)
This statement tells defendant nothing about his conclusions,
opinions, or the reasons for the opinion and provide none of the
data upon which any future opinion is based.

The only reference in his declaration to an opinion is the
assertion that touring revenues have diminished since the

publication of the book along with a reference to a decrease in

 

the number of shows and average income. The data on which this
opinion is based is not disclosed. From these statements, Kaplan
speculates that the gross income loss in touring is $2.3
million. None of the data on which this information is based
has been provided; nor is there any discussion of net loss, the
proper measure of damages, in calculating lost profits.

The Lashner Report

Dr. Lashner purports to be a _ specialist in "content
analysis" of communication, a discipline which apparently
originated in ecclesiastical attempts to ferret out heretical
meanings and implications in literary works. (Lashner Decl.,
para. 6.) Unlike the Fey and Kaplan declarations, this report
possesses some of the attributes of a report contemplated by
Rule 26(a) (2). It states or implies essentially two opinions:
that the book portrays Carl Wilson negatively in relation to
Eugene Landy and that Landy must have written portions of the
book. (Lashner Decl., para. 8; Report at 5-6, 29-30.) It also

describes generally the methodology used in analyzing the book
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to arrive at these conclusions. Yet, like the Fey and Kaplan
declarations, the report and coding manual fail to provide the
underlying data to which the methodology was applied.

Dr. Lashner states "[A]1l in all, there was a total of
twenty-seven designated passages which were subjected to content
analysis. Of the designated passages, three focused on Audree
Wilson, thirteen on Carl Wilson, and eleven on the Beach Boys
(to the extent that Carl Wilson was referred to individually or
as an integral member)." (Lashner Report at 9.) However, while
Lashner references these passages to the second amended
complaint, and states that they were analyzed "in terms of the
context in which they occurred," the particular contexts
pertinent to each passage are not specified.

Dr. Lashner then apparently broke the "passages" into
"assertions." ("A single sentence in a paragraph may harbor
multiple assertions.") (Lashner Report at 11.) Dr. Lashner
states the conclusion that "scientific content analysis of the
27 designated passages generated a total of 298 assertions of
relevant information: 80 focusing on Audree Wilson; and 218
focusing on Carl Wilson." (Lashner Report at 18.) Yet, Dr.
Lashner never identifies what she considered to be the 218
assertions. Nor does she state how the assertions were
categorized. "Such assertions as were subsumed within each
category were then counted and reviewed for patterns of content

." (Lashner Report at 11.) In order to test the validity of

the opinion of this extremely unusual expert witness, the

 

 
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defendant is entitled to the basic data to which her methodology
was applied and her opinions are based.

The court should be alerted at this time to two other major
difficulties with this expert report, although not strictly
relevant to plaintiffs’ noncompliance with Rule 26(a) (2).

First, a review of Lashner’s declaration, the report, and
the coding manual, discloses that it will most probably be
necessary to conduct a Daubert hearing on whether the field of
expertise claimed by lLashner is based on a_=e scientific
methodology at all and whether it can be validated as a matter
of scientific principle. The "expertise" on which Lashner
relies appears to be based on a technique or methodology which
lacks scientific validity and is based on the purely pseudo-
scientific and subjective interpretations of the expert. As
gatekeeper for opinion evidence allegedly rooted in scientific
principles, the federal court should be alerted to the highly
suspect nature of her expertise and to defendant’s expected
Daubert challenge to her methodology.

Second, the burden of Dr. Lashner’s elaborate report
clearly invades the province of the court and the jury and
relies on an expertise which she indubitably does not possess.

Lashner seeks to prove by content analysis that some
portions of the book contain negative material concerning Carl
and Audree Wilson. It is the province of the Court to determine
whether a statement is capable of a defamatory meaning, and the

function of the jury to determine whether the statement was

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reasonably understood in its defamatory sense. Foretich v.
Chung, 23 Media L. Rep. 144 (D.D.C. 1995). Moreover, the Court

determines whether the "negative" passages are opinion (in which
case they are absolutely protected) or statements of fact
capable of sustaining an action for defamation.

Stripped to its basics, the Lashner report purports to do
no more than to relate that certain passages in the book present
Audree and Carl Wilson negatively. However, the court and the
jury are solely entitled to decide those issues, and expert
testimony can be of little or no assistance in helping them make
that determination. If the words in the book within the context
in which they are used are defamatory, it will be apparent to
the jury without an expert telling it that a passage is "really"
defamatory, although it does not appear to be so.

Second, Lashner’s content analysis purports to give an
opinion on a historical fact, i.e., whether Dr. Landy wrote
parts of the book. Content analysis, whatever its utility, can
not provide a window into the issue of authorship. At most, it
can establish that Landy is presented positively and Carl Wilson
in a comparatively negative context. Lashner arrives at her
opinion that Landy contributed to the book by focusing on
whether Brian was able to recall various events himself in light
of his drug use and mental illness. She draws on selected
statements by Brian concerning substance abuse and mental
illness, relates them to defects in his memory, and then

concludes that he could not have remembered the events he

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recounts. (Lashner Report at 7. ("a goodly portion of
information which the book advanced about Dr. Landy and others
was incompatible with Brian’s memory or personal knowledge.") .)
Therefore, she continues, Landy must have contributed these
passages to the book. (Lashner Report at 7.)

Lashner, however, is not a psychologist or a psychiatrist
and does not purport to have any qualifications allowing her to
give a professional opinion on whether Brian Wilson was able to
recall accurately the events recounted in the book, what events
he could or could not recall, and whether the material included
was his own recollection of the historical past or someone
else’s. She has never examined Brian Wilson and would be
incompetent to give an opinion on this issue if she had.?
Therefore, the conclusions and opinions of the report seek to
use content analysis to speculate that Landy contributed to the
book, a conclusion based on her assessment of Brian Wilson’s
psychological ability to recall. Such psychological speculation
and inference-drawing is clearly beyond the expertise she claims

to have.

 

? Moreover, even a qualified psychiatrist would not be allowed
to give an opinion on whether Landy actually contributed material
for the book. Lashner’s report seeks to opine, in this respect, on
matters heretofore considered within the province of
parapsychology, a discipline which is not recognized as grounded in
scientific principle at all.

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B. Any Exhibits To Be Used As Summary of Or Support for
The Opinions

The declaration of Barry Fey has no exhibits supporting the
opinions but includes only attachments purporting to state his
qualifications and his experience.

The declaration of Mark Kaplan has no exhibits whatsoever.
As we have discussed, Kaplan does not even purport to have an
opinion at this time and has not even reviewed the relevant
financial documents.

Unless the Coding Manual, which appears to be only a
statement of definitions, can be considered an exhibit, the
Lashner report includes no exhibits identifying the "contexts"
in which the "passages" were analyzed or identifying the
"assertions" which form the basis of her opinion.

on Qualifications of Witness Including A List of All

Publications Authored by The Witness Within The
Preceding Ten Years

The declaration of Barry Fey is devoid of any reference to

publications at all.

The declaration of Mark Kaplan does not even address the

issue of publication.

Dr. Lashner’s declaration does include a list of
publications.
D. Compensation To Be Paid For The Study and Testimony

 

The Kaplan declaration makes no reference to the amount of
money paid or to be paid for the declaration, report, or

testimony.

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IV. Plaintiffs Should Be Precluded From  Adducing Expert
Testimony On These Subjects

This nearly total failure to comply with the requirements
of Rule 26(a) (2) (B) is particularly unseemly given plaintiffs’
earlier insistence that the court impose strict deadlines on
discovery in this case. Clearly, plaintiffs have not taken
seriously their obligations under Rule 26, as evidenced by the
fact that the declarations do not even address, much less
attempt to provide, the most fundamental information required by
Rule 26(a) (2). Plaintiffs have simply flouted the disclosure
requirements and thus have made it impossible for defendant to
respond with their own expert reports within the time limits
imposed by the court.

Defendant’s own expert disclosures are due on December 15,
1996. Because the financial data regarding the Beach Boys has
been obtained only recently and then inadequately, (Mr. Kaplan’s
declaration implies that it has not yet been provided to him),
defendant is unable to conduct its own analysis of the records.
Because plaintiffs have failed to provide opinions and the
underlying data, defendant is unable to join the expert issues
likely to be raised a trial, limit the scope of their own
experts’ preparation, or to conduct their own analysis of the
data on which plaintiffs rely.

Moreover, each of the objectives of the revised Rule 26 has
been frustrated by their failure to provide disclosures under
Rule 26(a) (2). The reports are virtually useless as a

disclosure device for learning anticipated testimony of

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plaintiffs’ experts and the supporting data. The Kaplan and Fey
declarations do not disclose any methodology or data. Defendant
is unable to present material to its own experts based on these
"reports" to enable them to formulate their responsive opinions.

In addition, based on the tentative and dataless nature of
these reports, defendant is unable to take the depositions of
these expert witnesses. To do so would clearly be futile at
this point. Mr. Kaplan does not even purport to be able to give
an opinion at this time; Mr. Fey presents no data or information
upon which a deposition could be taken; and Dr. Lashner fails to
provide the enumeration of the "assertions" on which she bases
her opinion. Thus, not only do the deficiencies of the reports
and declarations interfere with the goal of dispensing with the
necessity of taking a deposition altogether, they do not even
provide enough information to warrant the taking of depositions
at all.

This is not the first time that plaintiffs have violated
the Court’s order regarding expert witnesses. In Phase I of the
case, the plaintiffs failed to file their expert reports and
affidavits on time. The Court granted an extension based on
extenuating personal circumstances.

In Phase II plaintiffs have no such excuse. This case has
been pending for over two years. At the initial pre-trial
conference, the court specifically inquired into the plaintiffs’
calculation of damages. That their accounting expert has not

even received the documents to which Carl Wilson has access by

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The declaration of Mark Kaplan is devoid of any reference
to compensation for the preparation of his opinion and his
testimony.

The declaration and report of Dr. Lashner states in
paragraph 5 what her standard rates are, but there is no
statement of what she has charged to prepare her report and the
Coding Manual. Rule 26(a)(2) requires a statement of "the
compensation to be paid for the study and testimony," not merely
a recounting of standard rates.

E. A Listing of Any Other Cases In Which The Witness Has

Testified As An Expert At Trial or By Deposition
Within The Preceding Four Years

The declaration of Barry Fey does not address this
requirement.

The declaration of Mark Kaplan does not address this
requirement.

The declaration of Marilyn A. Lashner addresses generally

that she has previously testified but does not give specific

 

information regarding the cases or the testimony. In paragraph
4 she includes a generic reference to depositions or affidavits
and "various other contested matters" in several states and
trial testimony in "courts in Houston, Texas and Denver,
Colorado." Rule 26(a) (2) (B) requires "a listing of any other
cases" in which the testified as an expert or a deposition
within the preceding four years. Plaintiffs have failed to

provide this information.

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virtue of his corporate interest constitutes an astonishing
neglect of his obligation to provide his experts with the
relevant data necessary to formulate an opinion.

The appropriate remedy for this wholesale failure to comply
with Rule 26 is dictated by Rule 37(c) (1). Rule 37(c) (1)
provides that unless the failure is harmless, information not
disclosed shall not be permitted to be used at trial. There is
no excuse or justification, much less substantial justification,
for this unwillingness to comply with the requirements of Rule
26. Other courts, when faced with a material violation of Rule
26(a) (2) have issued preclusive orders. See, e.g., Sierra Club
v. Cedar Point Oil Co., 73 F.3d 546, 573 (5th Cir.) (designation
of experts stricken and experts precluded from testifying at
trial), cert. denied, 117 S. Ct. 57 (1996); Sylla-Sawdon v.
Uniroyal Goodrich Tire Co., 47 F.3d 277, 281-84 (8th Cir. 1995)
(precluding testimony).

This Court should enter an order barring the plaintiffs
from introducing any expert testimony at the Phase II regarding
the issues addressed by the declarations of Fey, Kaplan and the
report and declaration of Dr. Lashner. By doing so, the Court
will give meaning to the requirements of Rule 26 and protect the
defendant against the prejudice to their own expert preparation
inherent in this violation of the rules.

Defendant is entitled to reasonable attorneys fees and

costs for the preparation of this motion and brief.

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Respectfully submitted,

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

By: Mh Le to)

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We hereby certify that a copy of
the foregoing was hand-delivered

to Ernesto Romero and forwarded
via facsimile without exhibits and
via overnight service with exhibits
to Beth Dumas this 25% day of
November, 1996 at the following
addresses:

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By: hear Lhd

William S. Dixdén

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IN THE UNITED STATES DISTRICT couRT
FOR THE DISTRICT OF NEW MEXICO

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CARL WILSON,’ an _ingiviaual, Case No. CI¥ 94 892 JC

and AUDREE. WILSON,’ an
indiviaual,

 Plaintifgs,

Veo:

INC., a Delaware corporation,

et Cat eet ee eat Mat red et Nat Nel aed Seat Senet?

7 ; Defendant.

 

RECHARATION OF BARRY PEY

I, BARRY FEY , deelare.as follows:
‘. 2. | My career and experience as a concert promoter has
" gpanned 29 years. TI have dominated live entertainment in the
‘Denver markat'and have been a strong force in Las Vegas, Phoenix
and: Albuquerque, to name a few.

' 2. : My concert promotion experience includes bookings for:
the: Doors, Big Brother, Jimi Hendrix, Led Zeppelin, Crosby,
stills’ & Nash, the Who, the Rolling Stones and the Beach Boys.
My concert-prometion experiance includes concert series (such as
the “Summer of Stars" held annually at Red Racks Amphitheater in

Denver, Colorado) and ‘single events.

WilJ\010\ fey.dec’

EXHIBIT

 

 

 
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te,

Be . xX have received international recsagnition for high
‘quality presentaticzis, resulting in Billboard Magazine’s “Concert
“Promoter ef the Year” far an unprecedented three years in a row.
attached hereto axe true and correct copies of various newspaper

: articles about ne, and a brechure describing my concert promotion
"business. . :
Ae I have been retained by Plaintiffs as an expert on the
| subject of concert. promotion as it relates to Carl Wilson’s clain
tor general damage to reputation and special damages resulting
from lost concert revenues.

5. . The subject of ny expert testimony includes the factors
that influence the hooking of shows. The bottom line in whether
|. or not a band-is going to be booked is money. It is necessary to
‘look at, many different: factors that are going to affect a band’s

success in ‘any, given-market (i.e., reputation, air play and albun
sales) and a venue is. selected accordingly. However, |
occasionally a’ band will elect to-play a smaller facility than
‘they can ‘fill or may opt for. a larger one.
6. ‘My expert opinion is based on my concert promotion
experience, uy review of the alleged defamatory statements from
| Woulan‘t It Be Nice (the "Book"), the Beach Boys’ gig sheets fron
"2988 to 1995; the: comments of dise jockeys and coments I
remenber hearing after the Book came out, and my own experience
with Beach Boys’. bookings.
: 9.  ¥ have alvays been a big fan of the Beach Boys. in
1974, the: producers of the Crosby, Stills & Nasb stadium tour

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a were going te pot Santana on as the opening act, and I convinced
ae them to put the Beach Boys on instead. In fact, I promoted the
‘Beach Boys’. concerts in Denver at Mile High Stadium, in Kaneas
city at i ithe Royal Stadium, and in Milwaukee at the Milwaukee
‘county Stadion. At ‘that time, and for numerous years to follow,
‘the Beach Boys’ were an ideal act due to the fact that they had
about 65° three-minute songs that everyone knew all of the words
“aqthough, in-some’ of their concert performances it could, he
: i that there was a decline in singing or performance strength,
the Beach Boys still remained a favorite in the public eye and
were, the first choice for “fanily" type entertainment. The
public seatis to have set aside, and was not influenced by, the
publicized: pabavier of Dennis Wilson before his death (i.e., his
‘aruy abuse and his Charles Manson asgociation). I have had the
Beach Boys play at’an Annual. Salute to vad, with the Denver
symphony Qrehestra, and after baseball games, to give a few
‘examples. . They were the epitons of an “all American®" band.
Be The Beach Boys‘ concert marketability changed following
| [publication ef the Book in that the Book was perceived and talked
“ “about amongst disc ‘jockeys and others: in the music industry as
: = ‘presenting to’ the public the dirty truth that the quest fer the
almighty dollar was. the éxiving force behind the band with total
disregard to the consequences (nentally and physically) to Brian
“Wileon, and that instead. of being’ the close-knit family that
America thougnt they were, the Beach Boy brothers were victins of
. 7 ; flagrant child abuse. This caused the Beach Boys to become the

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‘object of ridicule by disc jackays. One of the largest
contributers to 2. band’s success lays in the enthusiasm of the

. dise jockeys when they are on the air, and it became increasingly

aifticult: for anyone to be enthusiastic about the Beach Boys

‘following. publication of the Book.
9. .At. one tine, I would. have paid $260,000 to the Beach

_ Boys. without batting an eye, but now If would hesitate to pay then
. $25, ooo. (it I agreed to book them at all). In fact, I am
involved in planning the KOOL Oldies Radio 1997 Summer Concert,
an event which, in prior years, a band like the Beach Boys would
_ have’ been perfect for. However, the Seach Boys have been ruled
“out by all invalveé parties.

Executed this 18th day of November, 1996, at Greenwood
viliage, colorado. I.declare under penalty of perjury under the
laws. ‘of the United States of aAnerica, the State of California,
the state ‘of Colorado ana the State of New Nexico that the

‘foregoing is. true and correct.

 

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Case POON OOS CTES Document 132 Filed "oe Page 23 of 95

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Case 1:94-cv-00892.-

 

 

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N ER
MPAN
has been a major force in the
entertainment industry since its
beginnings as Feyline Presents, Inc. in
1967; its history of accomplishments is
one of profitable partnerships. From the
inception of planning to the moment the
house lights dim, the objectives of co-
producers are shared and met by Fey
Concerts. Now, well into its fourth
decade of operation, Fey Concerts
draws upon experience gained through
years of success while maintaining a

young and vital attitude.

 

5889 South Greenwood Plaza Blvd.
Suite 400
Greenwood Village, CO 80111
(303)694-1234
Fax (303)741-1831

 

ley Page 24 of 95

 
 

 

- BACKGROUND

More than just the Rocky Mountain
region's premiere promoters, Barry Fey
and Pam Moore have made an
international impact with events such as
the US Festival, The Jamaican World
Music Festival in 1982, the first major
music event presented in a third world
country and the legendary Summer of
Stars series at Red Rocks Amphitheater.
Known and respected throughout the
industry, Fey Concerts is successful in all
aspects of concert/event promotion,
booking, production and related
opportunities. In an increasingly intricate
and competitive field, Fey Concerts is
recognized as a full-service operation with
a competent staff of specialists who
handle everything from the imaginative
packaging of each event to complex last

minute derails.

Fey Concert Company has produced
more concert dates with The Who and
The Rolling Stones than any other
regional promoter worldwide. In

addition, their close association with U2
led to the production of the best-selling
music video of all time, “Under A Blood
Red Sky,” filmed entirely on location at
Red Rocks. So successful was that joint
venture that U2 again came to Fey
Concerts to produce all the live music
segments in their next film, “Rattle and
Hum,” shot at McNichols Arena in
Denver and Arizona State University in
Tempe. The respect of both performers
and audiences alike has prompted
international recognition of Fey Concert’s
high quality presentation, and resulted in
Billboard Magazine honoring Barry Fey
as “Promoter of the Year” for an
unprecedented three consecutive years.

With over three hundred shows a year in
Denver, Phoenix, Las Vegas and other
major western markets, Fey Concerts has
attracted audiences in the millions for
shows featuring the hottest
contemporary, country and classic music
talent as well as family events including

 

 

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\ CONCERT PROMOTER OF THE YEAR VN

 

 

 

 

.-OUR Case ee es Document 132 Filed “ae Page 25 of 95

The Moscow Circus, Old Timers
Baseball, featuring such legends as Joe
DiMaggio and Ernie Banks (in 1983,
Old Timers Baseball, which was not
presented in conjunction with a regular
season game, drew an outstanding crowd
of 56,800 ...more than any major league
game thar season!), The Teenage Mutant
Ninja Turtles and Salute to Dad. Booking
such prestigious venues as Mile High
Stadium, Bally’s Resort in Las Vegas and
Reno, America West Arena in Phoenix
and the spectacular Red Rocks
Amphitheater, Fey has established a solid
reputation for their abilicy
to sell more dckets
than any other
promoter in the
region. In 1990
alone, the Red Rocks
summer series grew
an impressive 71%
due to increased
bookings and

attendance.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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. OUR SHOWS gg F® Document 132 Filed “~e Page 26 of 95

Fey Concert’s continuous record of
success in the presentation of events and
the crowd management situations
inherent to such presentations extends in
an unbroken line from Denver's 1969
Pop Festival to the “Colorado Sunday”
series to stadium and arena shows as well
as smaller venues. Fey Concerts prides
itself in offering more talent under the
finest conditions at the fairest ticket price
possible.

 

Considered the most spectacular outdoor
venue in the world, Red Rocks
Amphitheater, located in Morrison just
15 miles west of Denver, has hosted the
biggest names in the entertainment
industry — The Beadles, Jimi Hendrix,
Bruce Springsteen, The Eagles, Robert
Plant, Mikhail Baryshnikov, Whitney

    
  
  
   
   
 
  
 
 
 
 
 
 
 
 

Houston, Bette Milder, Neil Diamond
and The Grateful Dead ...co name just a
few! Named the Best Outdoor Concert
Venue by Pollstar Magazine, an
international entertainment industry
publication, for an unprecedented six
years the magazine notes: “Red Rocks
loyalists say that the concert experience
becomes even more memorable thanks to
the special effects provided by Mother
Nature's sunsets; the open sky can be
magic ...” Red Rocks was also cited twice
as the country’s premier outdoor venue in
an award determined by Performance
Magazine. With a capacity of 9,500, Fey
Concerts books an average of 30 shows
during its “Summer of Stars” series from
May to September; in 1985, 53 shows
played to 92% capacity.

Offering a new level of sophistication in
arena rock, Fey Concerts has presented
artists as diverse as Elton John, David
Bowie, Motley Crue, The Who, Michael
and Janet Jackson and AC/DC at
McNichols Arena. Hailed by sound
technicians as having optimum
construction for the proper dispersal of
sound, McNichols enjoys a reputation as

one of the finest sounding large venues
utilized by major performers. Simplified,
direct stage access, modern ventilation,
security, ample parking and complete
catering/dressing facilities along with an
18,000 seat capacity qualifies McNichols
as one of America’s premier arenas.

In addition, Fey Concerts utilizes
numerous small halls in the region from
the Paramount Theatre (Capacity 2,000)
to the Fieldhouse at the University of
Colorado (3,800 seats) in the
presentation of acts such as Big Head
Todd & The Monsters, Blues Traveler
and Red Hot Chili Peppers.

The Historic Paramount Theatre is
Denver's last grand movie palace, now
operating as a performing arts and
entertainment center. The Paramount

. Theatre has been serving Denver and

millions of visitors since 1929 and now
Fey Concert Company is responsible for
all management, booking and operations
of the theatre in collaboration with The

Historic Paramount Foundation.

From the enormous complexities of
planning and executing major events
such as the annual Winter Park festival to
production support on sporting events,
Fey Concert Company enters the 90's
firmly entrenched as the concert industry
pacesetter.

 

CONTACT: MICHELE ‘MEL’ GIBSON/PUBLICIST 303°694°1234
 

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Fiiday, September

15, 1989
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DSO officials

By Judith Brimberg
Denver Post Staff Writer

 

Denver Symphony ‘musicians :

have struck out on their own, but
some longtime backers said yes-

;day they hope musicians even-

ly will return to a broadened,
re responsive Denver Sympho-
Association. coe

Some members of the associa-
tion — the orchestra's operating
arm — have been working since
Juve to reconstruct the organiza-
tion “in a way in which we are
compatible with the musicians,”
association member Bob Shacklee
said yesterday.

‘Denver Symphony Orchestra
Chairman John Low said the asso-
ciation probably won't be vindic-
tive. ©

‘It is my view that attempting
td resolve any differences we may
have with the musicians’ union
through litigation probably is not
productive,” Low said. ,

. The trustees’ executive commit-
tee, which is to meet today, is ex-
pected to formally cancel the pro-
posed 1989-90 season.

i Mayor Federico Pefia said he
will await a2 presentation from
musicians and Fey before deciding
ther to let the new orchestra
city-owned Boettcher Concert

“Tam hot closing the door on the
effort the musicians and Barry
Fey are making,” Peiia said. “It

appears to be the only scenario un-.

play.” uo

    

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THE DENVER PosT

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eday will return

 

 

By G. Brown
Denver Post Specia! Writer *

Barry Fey’s career as a pro-
moter has spanned more than two
decades, from bringing classic
rockers like the Doors te Denver
in the ‘60s to presenting the Who
this summer at Boulder’s Folso
Field. : :

There's been football, baseball
and bankruptcy along the way.
Some highlights:

@ 1967 — Fey promoted his
first Denver-area concerts in Sep-
tember, booking Big Brother &
The Holding Company and Blue
Cheer at the Family Dog, as well
as the Doors — his first concert
as Feyline Inc. — at the Denver
University student union. On Dec.
31, he promoted his first show
outside of Denver, with Canned
Heat in Phoenix.

* 91968 — On Sept. 2, Fey pro-
moted a Jimi Hendrix/Vanilla

Fudge/Soft Machine billing at
Red Rocks Amphitheater, his
first concert using a city facility.
In 1975, he began booking the Red
Rocks “Summer of Stars” series,
now in its 15th year.

@ 1969 ~- Fey promoted the
three-day Denver Pop Festival,
June 25-27 at Mile High Stadium.
On Nov. 6, he staged his first
Rolling Stones show at Moby
Gym in Fort Collins. It was the
first show on the Stones’ 1969
tour, three years later, the band
asked him to promote its entire
1972 tour. Fey has promoted
more Stones' dates than any other
impresario in America.

1970 — Fey brought the Who |

to Denver's Mammoth Gardens
on June 9-1). He has since pro-
moted more Who concert dates
than anyone else in the United
States. .

B 1975 — Fey took over man-

Fey’s had plenty of highs — and some lows

agement of Tommy Bolin, the
star guitarist he discovered play-
ing with Zephyr in 1969. Bolin
died in December 1976.

@ 1978 — Fey was named

“Promoter of the Year” by Bill-

board magazine, an honor that he
repeated in 1979 and 1980. At one
point in the '70s, he was booking
shows in 14 American cities, in-
cluding Salt Lake City, Phoenix
and Kansas City, Mo.

@ 1979 — Fey opened the
Rainbow Music Hall, a state-of-
the-art concert facility, in Den-
ver.

@ 1982 — Fey promoted the
Jamaican World Music Festival,
the first American-produced con-
cert held in a Third World coun-
try.

@ 1983 — In May and June,
Fey coordinated talent for the
first US Festival in San Bernadi-

no, Calif. He won the three-day -

 

World Cup of Thoroughbred
Handicapping in Las Vegas, Nev.,
and came bome with $93,400,
thanks to his track savvy. On
Sept. 30, he held a highly success-
ful old-timers’ all-star game at
Mile High Stadium, drawing more
than 56,000 people — a bigger
crowd than any major league
baseball game attracted that sea-
son. The idea was extended into a
tour that‘included Tokyo.

w@ 1984 — Fey inaugurated his,
“Salute to Dad" extravaganzas
with the Beach Boys and the Den-
ver Symphony Orchestra at Mile
High Stadium. The Father's Day
program is now an annual event.
With his part interest in the
USFL's Denver Gold franchise,
Fey brought in the acts Chicago
and Alabama to perform at Mile
High after the Gold's football
games, :

1985 — Fey booked 52 shows

as a promoter

 

at 92 percent capacity at Red
Rocks, the most successful season
in history for the “Summer. of
Stars” series. He sold 137,000
tickets for two Bruce Springsteen
shows at Mile High, the ‘largest.

grossing event of his career.;~

@ 1986 — On May. 23, Feyline
Inc.. wound up in bankruptcy
court as a condition of the compa-
ny’s sale to Canadian promoter
Michael Coh!. When the court ap-
proved the plan, Fey and Cobl
emerged as partners in a reorga-
nized venture called Fey Concert
Co: “

@ 1989 — On Sept. 12°’ mem-
bers of the Denver Symphoiiy' Or-
chestra agreed to make Fey the
promoter of a proposed self-man-
aged concert season starting in
the fall. . : 2°

 

Wednesday night, symphony mu-
sicians voted overwhelmingly to
form their own orchestra with
Denver rock promoter Barry Fey
as marketing agent. Fey said yes-
terday be plans to pour $8,000 a
week into promoting the new Colo-
rado Symphony Orchestra.

Concerts would be held in Den-
ver's Boettcher Concert Hall and
in other Colorado cities.

One of the symphony's support
groups, the Men's Organization of
the Denver Symphony, is studying
whether it cam become a non-profit
fund-raising arm for the new or-

‘chestra. MODS isn't taking sides in

the dispute. “We're just trying to
keep good quality classical music
alive in Denver," said board mem-
ber Rob Scofield. ,
Reactions to the formation of a

_—,

new orchestra ranged from cau-
tious encouragement to dismay.
“It is a very courageous step but
a step which ] understand,” said
former DSO conductor Brian
Priestman. “I wish the new or-
chestra every great success... . If
it is in my power to help them,
they know where my hear! is.”
Dick Fleming, president of the
Greater Denver Chamber of Com-

merce, said the idea might work.
“... More power to them.”
Bill Douglas, executive director

~ of the Boettcher Foundation, a ma- |

jor DSO contributor, said: “I'm dis-
appointed but I'm not surprised. I
had hoped something could be
worked out but they were pretty
far apart.” The Boettcher Founda-
tion cannot contribute to the new
orchestra until its non-profit status

has been established, Douglas said.

 

 

 

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Penny Shoemaker, president of -

the Denver Symphony Guild, said
the DSOQ’s oldest support’ group
cannot back musicians as an inde-

pendent group. “It's unfortunate...

because we know their frustra-
tions, but evidently they have diff

culty in understanding the Denver
Symphony Association's economic
problems,” an .

  

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A FEY: The New Jersey nativ

on€s Concerts than any other rock Promoter |

 

 

Gy Brian Gadbery, Special
ted more Rolling

DENVER — Rock promoter
Barry Fey started Feyline with
$230 in September 1967. And
until July 14, 1971, he didn't
fose money on a single concert.

“I couldn't afford losers,"
says music’s King of the Rock-
les. “I didn’t have the money.”

Fey sits in United's Red Car-
pet Lounge at Stapleton Inter-
national Airport amid a confu-
sion of cashmere coats, leather
briefcases and business execu-
tives. They drink scotch, make

trans-Atlantic phone calls and-

wait for the fog to lift.

Wearing jeans, Fey sits with
legs crossed, sneakers dirty.
His Rolling Stones jacket, with
his name on the front, is un-
zipped; a CocaCola is in his
hand. He is 43, grossed $17 mil-
lion last year and has Colora-
do music under his thumb. He
looks like he crashed the joint.

But nobody will kick Fey
oul, because everybody in Den-
ver knows who he Is. One of the
country’s biggest rock promot-
ers — on a par with San Fran-
cisco’s Bill Graham and Fiori-
da's Jack, Boyle — Fey tias
presenied more Rolling Stones
concerts than anyone else.

He also has turned Denver
Into the best per-capita audi:
ence for rock in the country, he
says. “We did 120,000 for the

in’ in the Rockies

MUSIC |
BY NANCY MALITZ

Stones in 1981,"’ says Fey.
“That's 10 percent of the popu-
lation, when you figure it out.”

Despite the bad economy,
big-name bands have been
touring and Fey has done brisk
business. He recently handled
four shows In Denver's McNi-
chols Sports Arena — Aero-
smith, Neil Young, Barry Mani-
low and Willie Nelson. His
10-city national tour with Willie
Nelson closed in Honolulu, last

 

Tuesday , grossing $1.3 million.

Next, he will present Journey,
Hob Seger, Hall and Oates, Bil-
ly Squier, ‘and Crosby, Stills
and Nash in the Rockies. ,

Fey puzzles over the success.
He is sure it has something to
do with the physical abuse and
psychological harassment he
endured as a fat and lonely 17-
year-old from New Jersey un-
der a sadistic Marine Corps
drill sergeant. “1 was lucky.
Two other guys committed sul-
cide,” he says. ‘‘No matter
where Iwas going after thal, I
knew it was up."

“Up” was'netting $92 from a
Baby Huey and the Babysitters
concert in Rockford, II, in
1965. He had been making

$88.50 a week as manager of
Rockford’s Robert Hall cloth-
ing store for men. He says “I
said to myself, ‘How long has.
this been going on?’” And a
rock promoter was born.

His first Denver date came
in 1966 — a fraternity dance,
With profound good luck he
booked The Association just be-
fore their Cherish became the
country’s No. 1 single. Denver
gave him a Rocky Mountain
high. “I decided if I'm gonna be
a bum, it might as well be (in)
someplace like this.”

He tells his stoties with a
hoarse, East Orange accent, a
tough-guy voice straight out of
the gangster movies. He is un-
comfortable talking about the
music he likes or the bands he
thinsS are best. Restaurants,
he'll'talk about. But he'd rather
thir.k of music as a business.

‘I'm not creative in that
sere,” he says, “I don’t devel-
op talent. What I do is mer-
chandising and marketing of
things that are already devel-
cped. Chuck Morris (Feyline's
vice president) Is very cre-
alive. He can hear. q demo re-
cord and say there should be
Strings here or piano. But [
don't do that, I sell what's al-
ready there.”

: Fey plays hardball with any -

er

 

promoter who invades his ter-
ritory, but Ne ts friends with
promoters in other markets.
such ad San Francisco's Gra-
ham. Graham has two years
seniority on Fey, which makes
him forever older and wiser.
When Fey finally broke his-
winning streak in 1971 and lost
money on Stephen Stilts in
Kansas City, Mo., Graham sent
him a wreath.

The competition seems
friendly enough: “Bill is No. |
for special effects and con-
cepts, that kind of thing. No one
can oulproduce him." He grins,
“Bul I sell more tickets,”

Fey has a rock star's bank
roll and access to a rock star's
lifestyle, but he isn’t interested,
He says he doesn’t drink,
smoke or do drugs. *

“I take a walk when I get
lonely,” says Fey. Divorced, he
says he rarely dates, “People
just come up and tell me how
much they appreciate what I
do. It really knocks me out.”.

He thrives on such Jove jn-
Jections.“Once in awhile some
guy will ask me if I don't get
fed up with all those kids com-
ing up to tell me how much
they Jove the concerts,

“T tell him, ‘Yeah, that's why
I wear my name on my jack-
et.’ " . ., -

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Co. for about $100 million. Lieberman, a Minneapolis-
based video, music and computer software distributor, had

been a proficable vearure for Live. The sale should be
cumpleted by late July and will cause a $37 million write off
on Live's beoks. Live may also be planning to merge with
Carolco Pictures, which owns 54 percent of the
company... EMI-CAPITOL has secured a worldwide
licensing agreement to issue the entire Apple Records
catalogue of noa-Beatles product. Some of the Apple
macerial has not been available for over 20 years, and never
previously on CD, and many will contain bonus tracks.
Among the Grst Apple/Capitol recordings to be released
this fall are James Taylor's James Taylor, Badfinger’s Magic
Cansticn Music, Mary Hopkin’s Postcard, Modern Jazz
Quartet’s Under The Jasmin Tree, and Billy Preston's That’s
The Way God Planned It, Also reissued will be the live
recording in CD configuration only of The Concert For
Bangladesh. That record will be released on J uly 30th, two
days prior to the 20th anniversary of the concert.

A Double Team For Desert Storm Families

 

 

 

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Fey Finds A Rock Hotspot In Glitter Gulch

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Whimey Houstoa's readition of the Nationaal Anthem and The Jukebax
Network interactive music video channel combined to raise $20,000 for
the American Red Cross. Every time the song was requested by viewers
during the Red Cross fundraiser, proceeds were donated to the
organuzation’s Guif Crisis Fund to benefit military families. Here,
Jukebox Necwork programming VP Les Garland (left) and Houston
present the check to Red Cross official Cartos Rainwater.

Court Rules Against Club Admission Policy

The Vertigo .nightclub in Los Angeles has, been found in
“olation of California's civil rights act because its admission
policy is based on “nebulous criteria’ including fashion or
style of - dress, social status and acquaintance with
management. Being a single female also helps, according
°o the court decision handed down by Administrative Law
fudge Milford Maron. In the June 12th ruling, Maron
‘ound the trendy nightclub arbitrarily discriminated against
ingle men and the general public. The judge revoked the
sub’s liquor licexse but stayed the order for one year

“ag which the club must write a non-discrimination policy
- + stop discriminating against people lined-up to get in.
7ertigo has appealed the decision and will operate as usual
‘ending a new hearing. The club maintains it can extead
pecial treatment to some patrons as long as it does noc
iscriminate on the basis of race or sex.

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Denver-based concert promoter Barry Fey has hie a musical jackpot ac
Bally's Casino Resort in Las Vegas. The gambling mecca has long been
perceived as a rock and roll wasteland, buc Fey Concerts has had more
than a little success bringing major touring acts into Bally's 4,000-capaciry
ballroom and 1,476-seat showroom. “We started with Sam Kinison, then
did Andrew Dice Clay, Heart and INXS,"* said Fey. Pictured above are
INXS members Michael Hutchence and Kirk Pengilly during the band’s
April Sch shaw at the ballroom. - Fey says the ballroom dates ean be
more lucrative for acts because expenses are significantly lower than in
an arena and the ticket price is higher, about $33.50. The Labor Day
holiday will be Fey's biggest weekend ar Ballys with Harry Connick Jr.
in the showroom for thres days, Don Henley in the bailroom for owo
days and The Moody Blues in the ballroom for one day.

A Super Sloppy Arena Show

John Burnap of Events! Inc. and the Nickelodeon cable
network will co-produce an arena tour of the network's hot
children’s game show “Super Sloppy Double Dare." Events!
will book the show in mid-size arenas starting October 5th
and running weekends only through November 17th. Marc
Summers, who hosts the show on Nickelodeon, will travel
with the touring show and children will be chosen from the
audience as contestants. Promoters will want to note the
production rider which calls for 12 cans of whipping cream,
6 bananas, 16 dozen eggs, 1 jar of Maraschino cherries, 6
packs of Bubble Yum, and 1 bag of marshmallows.

 

Medical Notes .
The BLACK CROWES have often been referred to as
skinny guys in tight pants, but it curs out lead singer Chris
Robinson's weight is not something to joke about.
Robinson collapsed in London June 21st at a party thrown
in the band’s honor. Doctors found him to be sutfering
from severe exhaustion and considerably underweight. The
band recurned home immediately and canceled its European
promotional tour. Robinson is now resting so he can return
to Europe August 3rd to begin a three-month tour of thar
continent, Japan and Australia. The Black Crowes
reportedly played 285 shows in 16 months... The illness
which has caused ROD STEWART to totally rearrange his
European tour has finally been diagnosed, according to the
New York Daily News. The surprise medical verdict was
Stewart had beea suffering from hay fever. He now plans
to start bis North American tour on August 16th..........
MARY WELLS is back in the hospital in Los Angeles with
(Continued Page 9)

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Case NON Document 132 Filed “eX Page 30 of 95

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

Case No. CIV 94 892 JC

Plaintiffs,
V.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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DECLARATION OF MARK KAPLAN, C.P.A.

I, MARK KAPLAN, declare as follows:

1. I am a certified public accountant, specializing in
music industry accounting. I have personal knowledge of the facts
set forth herein, and if called as a witness, I could and would
testify competently thereto.

2. I hold a bachelor’s degree earned at the University of
Michigan in 1980, and I hold the license of Certified Public
Accountant which I obtained in 1982. Additionally, I have been
employed in the accounting field since 1980, and am currently
president of the Kaplan Corporation, CPA. My prior employment
from 1980 forward is as follows: 1980-1983: Deloitte, Haskins &
Sells; August, 1983- August, 1985: Bernard Gudvi & Co; August,
1985-September, 1986: Pro Peace; August, 1986- February, 1987:

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Wershow & Shapiro; February, 1987-January, 1989: Zeiderman
Oberman & Associates; January, 1989-May, 1991: Direct Management
Group; May, 1991-August, 1992: Pay Per View Music; August, 1992-
May, 1993: Radio Vision; August, 1993- June, 1994: Prager &
Fenton; June, 1994-February, 1995: Jenkins & Keenburg; February,
1995 to June, 1996: Jerry Swartz Accountancy Corp. ; and, from
June, 1996 to present: Kaplan Corporation CPA. A significant
portion of the aforesaid work experience has been devoted to
music industry accounting.

3. My fee for rendering expert testimony at deposition
and/or trial is $200 per hour, plus expenses.

4. It is my understanding that I will be providing lay
witness testimony on the subject of the revenues and profits
received by the Beach Boys before and after publication of
"Wouldn’t It Be Nice" (the "Book"), and the distributions made to
the members of the Beach Boys. However, to the extent such
matters are deemed to involve matters of expert testimony on
music industry accounting practices, I am being designated to
provide such expert testimony on plaintiffs’ behalf.

5. My testimony on the revenues and profits received by
the Beach Boys before and after publication of the Book, and the
distributions made to the members of the Beach Boys, will be
based on information prepared by the Beach Boys’ prior accoun-
tants as well as accounting records that I received or generated
during my tenure as the Beach Boys’ accountant and further, by
any accounting and royalty records obtained by Defendant via

subpena or otherwise, and any other accounting records produced

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in discovery. My testiszony will also be besed upon my under
standing of the Beach. Boys’ business practices and contractual
. relationships, including the manner in which various revenues are
_ paid, and further, ay understanding of music industry accounting

practices.
6- My analysis of the revenves and profits. received by

the Beach Boys before and after publication of the Book, and the
distributions gade to the menbera of the Beach Boys, is not

complete. However, wy analysis to date shows that touring

‘revenues have gone down since the publication of the. Book.
tn the: period July 1, 1989 through October, 1991, the average

number of shows per year was 102, whereas, after Octeber, 1991,

the average number ef shows per year aropped to 83, for an
‘approximate 20% decline. The average gross income per show in

those respective periods dropped from approximately $82,387.00 toa

approximately $73,653.00 per show. Based upon the foregoing, the

grozs incomes loss in touring is approximately $2-3 million per

year. The foregoing is gubject to continuing analysis.

Executed this 16th day of November, 1996, at Beverly Hills,

california. .
. YT declare under penalty of perjury under the laws
of California and the state

of the

United states of America, the State
of New Mexico that the foregoing is true and correct.

Qu Q_

‘ MARK KAPLAN

WILS\CL0\KAPLANZ. DEC 3
 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

Case No. CIV 94 892 JC

 

DECLARATION OF

MARILYN A. LASHNER, Ph.D
Plaintiffs,

Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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DECLARATION OF MARILYN A. LASHNER, PH.D.

Re: Carl Wilson and Audree Wilson v. HarperCollins Publishers, Inc.

 

~

I, MARILYN A. LASHNER, declare:

1. By training and experience, I am a specialist in
content analysis of communications. Attached to this declaration
is my Curriculum Vitae. Each statement contained therein is true

and correct.

2. I hold the degree of Doctor of Philosophy in
Communications, earned at Temple University in Philadelphia,
Pennsylvania. Additionally, I hold the Master of Science and
Bachelor of Science degrees earned at the University of Pennsylvania
where I majored in secondary education and the teaching of English.
I was a teacher of English at Cheltenham High School in Elkins Park,
Pennsylvania; at Pennsylvania State University at its campus in
Abington, Pennsylvania; and for the United States Civil Service
Communication Training Division in Philadelphia Pennsylvania.

I also taught Communications at Temple University. My publications
include assorted articles in learned journals and a book entitled,

The Chilling Effect in TV News: Intimidation by the Nixon White House.

 

 

The book, which presents data derived from content analysis, was cited
in 1986 as evidence by petitioners before the FCC and again before the
District of Columbia Court of Appeals in briefs seeking review of

broadcasting’s Fairness Doctrine.

 
 

 

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3. Since 1981 I have devoted my efforts to content
analysis research. The name of my company is Media Analysis and
Communications Research, wherein I am the principal researcher.

4. I have been qualified as an expert witness on
content analysis and have testified at trial in courts in Houston,
Texas and Denver, Colorado. Also, I have given depositions and/or
have submitted affidavits in various other contested matters in
Nevada, New York, Texas, Florida, Michigan, Mississippi, Indiana,
Utah, North Carolina, California, Oklahoma, Wyoming, West Virginia,

Washington, D.C. and the Republic of the Philippines.

5. My fee for rendering testimony at deposition and/or
trial is $2,500.00 per 8-hour day or any part thereof, plus expenses;
and $350.00 for each hour over eight on any given day. My fee for
conferences and office preparation, including review of data and
collection of documents, is $200.00 per hour. And my charge for

travel time is $150.00 per hour, portal to portal.

6. Content analysis is a multipurpose research method for
making replicable and valid inferences about communication content.
Rooted in the science of rhetoric, linguistics and communication
theory, content analysis has a long and distinguished history in
academic and social scientific research. First used for studies in
theology when the Church had interest in checking the spread of
nonreligious matters, the procedures have evolved into a scientific

methodology commonly used in universities and elsewhere for research

 

 
 

 

Case eae Document 132 Filed “eS Page 36 of 95

in Journalism, Literature, Education, Sociology, Anthropology,
Political Science, Psychiatry, and Psychology. From early in the
twentieth century when the first book on scientific analysis of
communication content was published in German, a profusion of
textbooks, articles, scholarly studies and academic conferences has
been devoted to its development and use. Today, in all universities
dealing with communication studies, content analysis is recognized

and taught as a classic among research methodologies of enduring

importance and value.

7. Upon authorization by the attorney for the Plaintiff
in the above-captioned case, I have undertaken to perform a research
project that includes content analysis of the following book:

Wouldn’t It Be Nice: My Own Story,

by Brian Wilson with Todd Gold,
New York: HarperCollins Publishers (1991).

8. The purposes of this research were to describe:
(a) how HarperCollins portrayed Audree Wilson and Carl Wilson in
the book identified above; (b) the Literary devices and techniques
used to achieve that portrayal; and (c) the extent to which
HarperCollins permitted their publication, ostensibly an

autobiography by Brian Wilson, to give voice to Dr. Eugene Landy.
 

 

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9. Also attached to this declaration are two documents
separately entitled, "Analysis of the Portrayals of Audree Wilson

and Carl Wilson in Wouldn’t It Be Nice, an Autobiography by Brian

 

Wilson" and "Coding Manual." The two documents are to be considered
as a unit and, together, comprise the full report on the research

project identified above.

10. The above-named documents represent research
personally designed, executed and interpreted by me. In the course
of performing such research as is described and/or reflected in each
of the above-named documents, I personally reviewed and analyzed all
documents cited therein, and all findings and conclusions expressed
therein reflect my personal knowledge based on data generated from

my personal experience in said research, review and analysis.

Signed,

Martyr 2. Sash Toverntere 12,1996

Marilyn A. Lashner, Ph.D. Date

 
Case 1:94-cv-00892g@@eC-LFG Document 132 Filed 12/ 6 Page 38 of 95
CURRICULUM VITAE ARILYN A. LASHNER -
Post Office Box 3165

Meadowbrook, Pennsylvania 19046
(215) 884-4331

PROFESSIONAL INTERESTS

My expertise is in the areas of communications research and content analysis methodologies.
| specialize in linguistic analysis of news reports and other communications and in assessment
of communication content in relation to legal, ethical and professional standards.

EDUCATION
Ph.D. (Communications), Temple University, Philadelphia, Pennsylvania 1979
M.S. (English/Education), University of Pennsylvania, Philadelphia, Pennsylvania 1954
B.S. (English/Education),University of Pennsylvania, Philadelphia, Pennsylvania 1950

PROFESSIONAL EXPERIENCE

Principal Researcher 1984-present
Media Analysis and Communications Research, Meadowbrook, Pennsylvania
President and Director of Research 1979-84
Institute for News Media Analysis, Meadowbrook, Pennsylvania
Assistant Professor of Communications 1980-81
School of Communications, Temple University, Philadelphia, Pennsylvania
Instructor of English ° 1967-75
Pennsylvania State University, Abington, Pennsylvania
Consultant, Effective English 1974
U.S. Civil Service Communication Training Division, Philadelphia, Pennsylvania
Teacher of English; Public Speaking; Director of Dramatics 1951-54
Cheltenham High School, Elkins Park, Pennsylvania ;

PUBLICATIONS

BOOK

THE CHILLING EFFECT IN TV NEWS: Intimidation by the Nixon White House.
New York: Praeger Publishers (1984).

ARTICLES

“Content Analysis: A Method for Analyzing Communications,”
The Expert and the Law, Vol. 10, No. 1 (1990), pp. 2, 5; -
also in The Expert Witness Journal, Vol. 2, No. 4 (April 1990) pp. 1, 18-19.

“Broadcasting and the Separate Traditions of First Amendment Theory,”
U.S., Congressional Record, 95th Congress, 1st Session (uly 29, 1977),
$13142-44; and (August 1, 1977), E5001-03.

“A Free Electronic Press: The Key to a Vigorous Republic,”
Feedback, Vol. 19, No. 3 (November 1977), pp. 1-4.

“The Role of Foundations in Public Broadcasting, Part |: Development and Trends,”
Journal of Broadcasting, Vol. 20, No. 4 (Fall 1976), pp. 529-47.

“The Role of Foundations in Public Broadcasting, Part !l: The Ford Foundation,”
Journal of Broadcasting, Vol. 21, No. 2 (Spring 1977), pp. 235-54.

“Privacy and the Public’s Right to Know,”
Journalism Quarterly, Vol. 53, No. 4 (Winter 1976), pp. 679-88.

PROFESSIONAL MEMBERSHIPS

National Forensic Center for Distinguished Experts
The Reporters Committee for Freedom of the Press

REFERENCES FURNISHED UPON REQUEST

 
Case 1:94-cv-0089 C-LFG Document 132 Filed 12/ 6 Page 39 of 95

a Media Analysis &
Communications Research

Marilyn A. Lashner, PhD

 

ANALYSIS OF THE PORTRAYALS OF AUDREE WILSON AND CARL WILSON

IN WOULDN’‘/T IT BE NICE, AN AUTOBIOGRAPHY BY BRIAN WILSON

Re: Carl Wilson and Audree Wilson v. HarperCollins Publishers, Inc.

 

Analysis and Report by Marilyn A. Lashner, Ph.D.

 

Wercbyn- th. Leshner Tpvernber 12,1996

Marilyn A. Lashner, Ph.D. Date

 

 

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1341 Gilbert Road
Meadowbrook, PA 19046
(215) 884-4331

 

 

 
 

 

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ANALYSIS OF THE PORTRAYALS OF AUDREE WILSON AND CARL WILSON

IN WOULDN’T IT BE NICE, AN AUTOBIOGRAPHY BY BRIAN WILSON

Re: Carl Wilson and Audree Wilson Vv. HarperCollins Publishers, Inc.

Analysis and Report by Marilyn A. Lashner, Ph.D.

In 1991 HarperCollins Publishers released a book which was
purportedly an autobiography of Brian Wilson, an inductee in the
Rock and Roll Hall of Fame and "founder and creative genius" of the
Beach Boys, a world-renowned rock and roll band. Written in the
first person and entitled, Wouldn’t It Be Nice: My Own Story,
the book was identified as having been authored by Brian Wilson

with Todd Gold.

Billed as "one of the most searingly candid memoirs ever
published" and as a "no-holds-barred autobiography," the book
describes the child abuse suffered by Brian Wilson at the hands of
his father; other mistreatment he was forced to endure from a
variety of other persons; and his life-threatening struggle with
drug addiction, alcoholisn, self-doubt, obesity and mental illness.
Included among those other persons who are cited for inflicting
wrongful treatment on Brian Wilson are his mother, Audree Wilson,
and his brother and fellow Beach Boys member, Carl Wilson.

Blame is also ascribed to the Beach Boys as a group.

 

 
 

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The book is dedicated to Dr. Eugene Landy, a psychologist who,
from the end of 1975 through January 1988, was charged with
administering therapy to Brian Wilson and with supervising his
recovery, and who afterwards became Brian Wilson’s “friend, partner,
and manager." Significant amount of the book’s text is devoted to
describing Dr. Landy’s credentials, philosophy, methods of treatment,
and the successes he was able to effect through his treatment of
Brian Wilson. Also recounted in detail are Dr. Landy’s struggles
with the Beach Boys individually and as a group and the several

public controversies to which Dr. Landy was a party.

The purposes of this research were to describe: (a) how
HarperCollins portrayed Audree Wilson and Carl Wilson in the book
described above; (b) the literary devices and techniques used to
achieve that portrayal; and (c) the extent to which HarperCollins
permitted their publication, ostensibly an autobiography by Brian
Wilson, to give voice to Dr. Eugene Landy, inasmuch as Dr. Landy

was an outside party not identified as an author.

The methodology upon which the research was based is set forth
in the accompanying Coding Manual. The two documents, the Coding
Manual and this report, comprise the full report on the research

project and are to be considered as a unit.

 

 
 

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Re: Wilson, et al. W Harpercollins Page 3

CONCLUSIONS

1. On the.basis of my research and analysis, it is my conclusion
that, in its book entitled, Wouldn’t It Be Nice: My Own Story,
HarperCollins Publishers defamed Audree Wilson and Carl Wilson in
terms of both their personal and/or professional persona, including
such aspects as character, actions, mother liness/brotherliness,
allegiance and lawfulness. Said defamation was projected through
statement, inference and innuendo and represented an extensive and
pervasive attack on both Audree Wilson and Carl Wilson, and would

have been so understood by the average reader.

2. Among the items of defamatory information presented by the

book were the following:

in regard to Audree Wilson:

a) CRUEL AND CALCULATING: that Audree Wilson is possessed
of a character that is cold, cruel, calculating, indifferent
and aloof.

b) WRONGFUL ACTIONS: that Audree Wilson willfully permitted
her children to suffer flagrant physical and psychological abuse
at the hands of their father; that she refused to intercede or,
otherwise, to rise up and defend her children from her husband’s
flagrant child abuse which was of such seriousness as tying Brian
to a tree for punishment, and swinging a splintered two-by-four,
over and over and with full-force, to nine-year-old Brian's back
and midsection; and that she willfully complied with her
husband’s command to withhold food from her son for two nights.

c) RESOLUTE DETERMINATION: that Audree Wilson was resolute
in her determination to permit the flagrant abuse that her
husband was inflicting on their children and that was taking
place in her presence; and that she acted affirmatively and
with resolution in following the command of her husband to
herself inflict abuse on their son Brian.

 

 
   
 

Re: Wilson, et al.

 

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a) BLIND ALLEGIANCE: that Audree Wilson never opposed
her husband during his abuse of their children; and that
she demonstrated blind allegiance to her husband’s agenda
even if it meant sacrificing their children’s physical and
psychological health.

e) UNFIT MOTHER: that Audree Wilson is an unfit mother who
willfully permitted her son Brian to be physically and
psychologically injured by her husband’s continual abuse; and
who, by her resolute determination to withhold the mothering
he needed, helped cause her son’s mental illness that left him
an emotional cripple.

f) CRIMINALITY: that Audree Wilson was a co-conspirator with
her husband and that she knowingly and intentionally aided and
abetted her husband in the flagrant abuse inflicted on their
children in her presence; that she both caused, and permitted
to be caused, the flagrant physical and psychological abuse
inflicted on their children; and that in so doing, she was
guilty of a felony under Section 273(a) of the California
Penal Code, Section 30-6-1 of the New Mexico Statute and as
per er People v. Figueroa, 167 Cal. App. 3d 981, 213 Cal. Rptr.
676 (Cal.Ct. of Appeals 1985), and People Ve ‘Bautista Vargas,
204 Cal. App. 3d 1455, 251 Cal. Rptr. 904 (Cal. Ct. of Appeals
1988).

 

In regard to Carl Wilson:

g) WRONGFUL ACTIONS: that Carl Wilson, as trustee for The

Brian Wilson Trust of 1982, demonstrated a conflict of interest,
lack of good faith, and failed to administer the trust solely in
Brian’s interests, as required by law; that he fired psychologist
Dr. Landy for his own personal reasons and replaced Brian’s
heretofore constructive therapy with a regimen of abuse,
belittlement and intimidation; that he acquiesced to a publicity
campaign designed to exploit Brian’s illness for his own and the
Beach Boys’ career advancement and monetary reward, about which
publicity campaign Brian and his associate Dr. Landy had been
kept in the dark; and that he was responsible for his brother
Dennis’ death when, in full knowledge of Dennis’ life-threatening
condition of substance abuse, he refused to authorize treatment
for reasons of money and his own holiday plans.

h) ALLEGIANCE TO BEACH BOYS: that Carl Wilson’s allegiance was
to the Beach Boys--their agenda, wealth and success--rather than
to his brother Brian, even if to the detriment of his brother’s
health, recovery and general welfare.
 

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i) MOTIVATED BY GREED: that Carl Wilson’s behavior toward his
brother Brian was motivated by selfishness and his own private
ends; and that his overriding aim was to retain his brother
Brian as a workhorse and money machine for the Beach Boys
rather than to see him function as a healthy person.

j) CALLOUS AND SCHEMING: that Carl Wilson is callous,
insensitive, scheming, opportunistic and exploitive; and that,
otherwise, he is irresolute, indecisive and feckless without
guidance and instruction from his advisers and spiritual master.

k) UNBROTHERLY: that Carl Wilson demonstrated selfishness

and indifference to both of his brothers during their infirmity;
that he put money and personal politics above both brothers’
urgent need for therapy; that he showed treachery toward his
brother Brian by taking advantage of his mental incompetence;
that he resented his brother Brian‘’s newly found independence
and tried to undermine and sabotage his therapy; that he
considered Brian a commodity to be sold rather than a brother
to nurture; that he shunned and deliberately refused to talk to
his brother Brian, even at his brother’s heartfelt urging; and
that he pursued legal actions intentionally designed to strip
his brother Brian of dignity and his rights as a human being.

1) ILLEGALITY: that Carl Wilson, as trustee charged with
administering The Brian Wilson Trust of 1982, was tortious and
in direct violation of the law with regard to standards of
care and duties of trustees as set forth in Sections 16002(a),
16004 and 1608(a) of the California Probate Code.

m) CRIMINALITY: that Carl Wilson admitted his involvement in
the purchase/smuggling of heroin into New Zealand and/or
Australia, which heroin was used by his brother Brian Wilson;
that such purchase/smuggling of heroin by Carl Wilson would
constitute a crime under Section 6 of New Zealand’s Misuse of
Drugs Act of 1980 and its Customs and Excise Act of 1996,
except that said admission by Carl Wilson may not have been
genuine and may have been made to protect his brother Dennis
from repercussion by the band’s management.

 

 
 

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3. It is also my conclusion that HarperCollins permitted its
book to give voice to psychologist Dr. Eugene Landy, albeit through
what was identified as Brian Wilson’s testimony; and that said
voice was given to Dr. Landy despite the fact that pr. Lana@y was an

outside party not named as an author.

4. It is also my conclusion that HarperCollins’ permitted its
book to serve as a platform for Dr. Landy; and that, in so doing,
HarperCollins permitted an inordinate amount of the book’s text to
be saturated with details touting, justifying and/or defending
Dr. Landy’s competence, methods, successes and ethical integrity,

as well as his positions on controversies to which he was a party.

5. It is also my conclusion that, through deft use of the
rhetorical device antithesis, HarperCollins’ book cast Carl Wilson
as foil to Dr. Landy whereby denigration of Carl Wilson would serve
to make Dr. Landy seem admirable by contrast, and whereby the
portrait of Dr. Landy was enhanced while that of Carl Wilson was

debased; and that HarperCollins permitted its book to be so used.

 

 
 

 

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6. It is also my conclusion that, in light of Brian Wilson’s
self-avowed mental disability throughout much of the time covered
by his narration, and in light also of his explicit disavowel of
insight or personal knowledge regarding many of Dr. Landy’s
initiatives and encounters which were explained in great detail in
the book-~a goodly portion of information which the book advanced
about Dr. Landy and others was incompatible with Brian’s memory or
personal knowledge; and that such incompatibility would have been

recognizable to HarperCollins as well as other readers.

7. It is also my conclusion that, by naming Dr. Eugene Landy
in his acknowledgments and by according him the penultimate position,
just before Brian, in his list of nineteen persons thanked for their
support and assistance--associate writer Todd Gold was in essence
acknowledging Dr. Landy as a major contributor to the book, second

only to Brian Wilson.

8. Finally, it is my conclusion that, given Brian Wilson’s
self-avowed mental disability and lack of personal insight or
knowledge during much of Dr. Landy’s tenure, and given the book’s
fully detailed account and obvious glorification of Dr. Landy--
it follows that the major contribution of Dr. Landy to the writing
of the book (as acknowledged by associate writer Todd Gold)
necessarily directed the tenor of the story, at least with regard to
Dr. Landy’s own portrayal and that of his chief adversaries: the
Beach Boys, particularly Carl Wilson; “and that such reasoning would

have been recognizable to HarperCollins as well as other readers.
 

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RESEARCH DESIGN

In pursuit of the purposes identified above, the following
book was subjected to rigorous, systematic and objective content
analysis:

Wouldn’t It Be Nice: My Own Story,

by Brian Wilson with Todd Gold,
New York: HarperCollins Publishers (1991).

 

Based on classic principles of logic, rhetoric and
communication theory, the content analysis procedures were designed
to identify the full range of explicit and implicit meanings, such
as were communicated by HarperCollins Publishers about plaintiffs
Audree Wilson and Carl Wilson, and such as would have been
understood by the average reader. To this end, the analysis
focused on specified passages from the book in terms of their
words, phraseology, rhetorical devices, juxtapositions and such
other factors of their contextual environment as would give insight

into the information contained therein.

For purposes of this research, information was defined in terms
of statements, inferences and innuendos; and communication was
defined in terms of meanings exchanged between the writer/publisher of

the message and the average reader.

 
 

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To proceed with the analysis, the book Wouldn’t It Be Nice was

 

examined on a designated passage basis, 1 where "designated passage"
was defined for.this research as: a finite segment of language such
as was excerpted from the book, Wouldn’t It Be Nice, and designated

in the plaintiffs’ SECOND AMENDED COMPLAINT FOR LIBEL in Paragraph

 

10 as statements of and concerning Audree Wilson; Paragraph 19 as
statements of and concerning Carl Wilson; and Paragraph 30 as
statements of and concerning the Beach Boys; which finite segment
of language may include one or more phrases, clauses, sentences or
paragraphs--in their original order or with an ellipsis to designate

omission of a word or words.

All in all, there was a total of twenty-seven designated
passages which were subjected to content analysis. Of the
designated passages, three focused on Audree Wilson, thirteen on
Carl Wilson, and eleven on the Beach Boys (to the extent that Carl

Wilson was referred to individually or as an integral member).

At all times, the various passages were analyzed in terms of
the context in which they occurred: where "context" was defined as
the whole structure of a literary work with regard to its bearing
upon any of the parts which constitute it; and where the meaning of
any designated passage was determined, in part, on its relationship

to the book as a whole and to the effect of the parts which

immediately preceded and followed.

 

 
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The focus of content analysis is on mutually exclusive and
independent categories which represent an exhaustive array of the
topics being discussed in the communications-at-issue and which, in
operational terms, are pigeonholes into which the content units are
to be classified. In this present analysis, the following fifteen
categories, focusing variously on Audree Wilson and Carl Wilson,

were designated as relevant and formed the basis of the research:

Regarding Audree Wilson: CHARACTER; MOTHERLINESS;

ALLEGIANCE; RESOLVE; ACTIONS; and CRIMINALITY.

Regarding Carl Wilson: CHARACTER; ACTIONS; ALLEGIANCE;
BROTHERLINESS; MOTIVATION; LEGALITY; CRIMINALITY;

SUBSTANCE ABUSE; and LANDY/CARL WILSON COMPARISON.

Such designated passages as were identified in the SECOND

AMENDED COMPLAINT as statements of and concerning the Beach Boys

 

were analyzed in terms of the "Carl Wilson categories" on the

assumption that, and to the extent that, they were deemed relevant

to Carl Wilson, individually, or as a member of the Beach Boys.

 

 
 

 

 

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Re: Wilson, et al.

Each of the sentences contained within the designated passages
of HarperCollins’ book was dissected into an exhaustive set of

2 each assertion physically placed within its relevant

assertions,
category. For purposes of this research, "assertion" was defined
as a linguistic construction comprising a single item of relevant
information; and "relevant information" was defined as information
focusing on one or more of the content categories identified above.
A single sentence in a paragraph may harbor multiple items of
information and thereby generate multiple assertions. Assertions
may represent statements, inferences or innuendos; and, according
to the present research design, each assertion was identified in
terms of its explicit/implicit status, source and attribution.
Throughout the analysis, inferences and innuendos were recognized
as emanating from a variety of mechanisms, among which are:
context, including order and arrangement of parts; transitional

terms; qualifications; connotations; and such rhetorical devices

as antithesis.

Such assertions as were subsumed within each category were
then counted and reviewed for patterns of content, gist and overall
character; and within this framework, conclusions relevant to the
research questions were formulated. At all times during the
research process, particular attention was paid to accuracy,

objectivity, validity and reliability.
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Re: Wilson, et al.

The intra-coder reliability coefficient is a measure of the
reliability of the coding procedures. Coding reliability
presupposes that repeated measures with the same instrument on a
given communication should yield similar results. An intra-coder
reliability coefficient for the assertion-identification procedures

was calculated to be: 99 percent.?

Accompanying and essential to the instant document, “Analysis
of the Portrayals of Audree Wilson and Carl Wilson in Wouldn’t It
Be Nice, An Autobiography by Brian Wilson," is the Coding Manual
which provides definitions for the category labels and explicit
rules for the various procedures used in the content analysis.
Because this detailed explanation is available in the Coding Manual,
only the barest description of the procedures is offered in this

document. 4

The third purpose of the research: to identify and describe
the extent to which HarperCollins permitted their publication to
give voice to Dr. Eugene Landy--was addressed not by the scientific
content analysis described above, but rather by an informal review of
other passages selected by this researcher to represent statements
of and concerning Dr. Landy in the following areas: COMPETENCE;
METHODS OF TREATMENT; ETHICS; EFFECTS; and POSITION ON
CONTROVERSIES. Said selected passages were not intended to be an
exhaustive representation of information contained in the book
regarding Dr. Landy, generally, or in terms of any of the specified

categories.

 

 

 
 

 

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For purposes of this analysis, I was asked to assume that,

according to Uniform Jury Instructions 13-1007, “defamatory

 

communication" is defined (in pertinant part) as a statement which
“tend(s) to expose a person to contempt, to harm the person’s
reputation, or to discourage others from associating or dealing

with him or her."

I was also asked to assume that, according to the California

suffer unjustifiable physical pain or mental suffering. Note the

following language:

Any person who, under circumstances or conditions likely to
produce great bodily harm or death, willfully causes or permits
any child to suffer, or inflicts thereon unjustifiable physical
pain or mental suffering, or having the care or custody of any
child, willfully causes or permits the person or health of that
child to be injured, or willfully causes or permits that child
to be placed in such a situation that its person or health is
endangered...[is guilty of a crime]

California Penal Code
Section 273(a)

Any person who, under circumstances or conditions other than
those likely to produce great bodily harm or death, willfully
causes or permits any child to suffer, or inflicts thereon
unjustifiable physical pain or mental suffering, or having the
care or custody of any child, willfully causes or permits the
person or health of that child to be injured, or willfully causes
or permits that child to be placed in such a situation that its
person or health may be endangered, is guilty of a misdemeanor.

California Penal Code
Section 273(b)
 

 

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And that according to People v. Figueroa, 167 Cal. App. 3d

981, 213 Cal. Rptr. 676 (Cal. Ct. of Appeals 1985), the court
affirmed a mother’s conviction under the Penal Code where evidence
showed that "some of the child abuse [committed by her male friend]
took place while the mother was present and the balance outside her
physical presence but within her hearing, or otherwise soon came to
her attention" and that “by her own account, defendant’s failure to
act resulted either from a considered and resolved desire to keep

her male friend from leaving, or fear of him if she intervened."

And that according to People Vv. Bautista Vargas, 204 Cal. App.
3d 1455, 251 Cal. Rptr. 904 (Cal. Ct. of Appeals 1988), the
observation is made that permitting child abuse and causing child
abuse are equally criminal. Note the following language:

The legislature has seen fit to proscribe equally, without
distinction as to the available punishment, any violation of
section 273a, subdivision (1)...

And that according to New Mexico Statute, Section 30-6-1,
child abuse isa felony and that permitting child abuse to occur is
a felony even where the abuse does not result in great bodi ly harn.
Note the following language:

Abuse of a child consists of a person knowingly, intentionally
or negligently...causing or permitting a child to be: (1)
placed ina situation that may endanger the child’s life or
health; [or] (2) tortured, cruelly confined or cruelly
punished...

Whoever commits abuse of a child which does not result inthe
child’s death or great bodily harm is, for a first offense,
guilty of a third degree felony and for second and subsequent
offenses is guilty of a second degree felony. If the abuse
results in great bodily harm...he is guilty of a first degree
felony.

 

 
 

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I was also asked to assume that it is a crime in New Zealand
to bring in prohibitive imports, including heroin--as per Section 6
of New Zealand’s Misuse of Drugs Act of 1980 and its Customs and

Excise Act of 1996.

 

I was also asked to assume that Sections 16002(a), 16004 and
1608(a) of The California Probate Code define, respectively, the
following standards of care and duties for trustees of revocable

living trusts:

-to administer the trust solely in the beneficiaries’ interests;
-to avoid a conflict of interests;
-to exercise discretion in accordance with fiduciary principles,
in good faith, and with regard for the trust purposes;
and that a violation of said standards of care and duties is tortious

and a direct violation of the law.

And finally, the assumption was made that, as a psychologist
who, from 1969 through 1990, was a member of the American
Psychological Association,° Dr. Eugene Landy was aware of, and
necessarily subscribed to, © the Ethical Principles of Psychologists
as promulgated by that association over the years 1975 to 1988,
the period during which, according to the book, Dr. Landy
administered professional treatment to Brian Wilson. What follows
is an amalgam of selected principles advocated by the association

in versions approved variously in 1972, 1977, 1979 and 1981:

 
 

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a) Psychologists respect the dignity and worth of the
individual and strive for the preservation and protection of
fundamental human rights.

b) Psychologists make every effort to protect the welfare of
those who seek their services...and do not knowingly permit
their own services to be used by others for purposes
inconsistent with these values.

c) Psychologists define for themselves the nature and
direction of their loyalties and responsibilities and keep all
parties concerned informed of these commitments.

ad) As practitioners, psychologists are alert to personal,
social, organizational, financial, or political situations and
pressures that might lead to misuse of their influence.

e) When a psychologist agrees to provide services to a client
at the request of a third party, the psychologist assumes the
responsibility of clarifying the nature of the relationships
to all parties concerned.

f) Psychologists make advance financial arrangements that
safeguard the best interests of and are clearly understood by
their clients; they willingly contribute a portion of their
services to work for which they receive little or no financial
return.

g) Psychologists only provide services and only use
techniques for which they are qualified by training and
experience. In those areas in which recognized standards do
not yet exist, psychologists take whatever precautions are
necessary to protect the welfare of their clients.

h) Psychologists in clinical or counseling practice do not
use their relationships with clients to promote, for personal
gain or profit...commercial enterprises of any kind.

i) In their professional roles, psychologists avoid any
action that will violate or diminish the legal and civil
rights of clients or of others who may be affected by their
actions.

 

 
 

 

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FINDINGS

1. Reference to Dr. Eugene Landy was made in 26 of the book’s 50
chapters, which chapters accounted for a total of 200 out of 390

pages.

2. In those 26 chapters referencing Dr. Landy, he was specifically
named--as either Dr. Landy or Gene-~a total of 809 times.

3. In contrast, reference to the Beach Boys was made in 46 of the
book’s 50 chapters and they were specifically named a total of 370
times.

4. Whereas Dr. Landy was specifically named as many as 84 times
in one chapter, the average number of times he was named in the
chapters in which he was referenced was slightly over 31.

5. Whereas the Beach Boys were specifically named as many as 20 times
in one chapter, the average number of times they were named in the
chapters in which they were referenced was slightly over 8.

6. Dr. Landy’s association with Brian Wilson was marked by the
following dates:

First tour of service: 1975.- 1977 pp. 207-246
First fired / not in service: 1977 - 1983 pp. 244-272; 1-16
Second tour of service: 1983 - 1988 pp. 273 - 351
BMQA charges filed: 1988 p- 350

Ended Dr./Pt. relationship: 1988 p- 351

Stripped of license: 1989 p- 351
Conservator action filed: 1990 p. 368
Separation agreement: 1991 p-. 387

7. In the text, when describing events that had taken place before
1988, Brian Wilson, with few exceptions, referred to Eugene Landy
as "Dr. Landy;" when describing events that had taken place after
the BMQA charges and the ending of their formal doctor-patient
relationship, Brian Wilson, more often than not, referred to him as
"Gene."

 
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8. In his acknowledgments, professional writer Todd Gold thanks
19 people for their support and assistance; among this list,

Dr. Eugene Landy is accorded the penultimate position, just before
Brian.

9. Scientific content analysis of the 27 designated passages
generated a total of 298 assertions of relevant information:
80 focusing on Audree Wilson; and 218 focusing on Carl Wilson.

 

 
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DISCUSSION

Platform for Dr. Landy

 

It was apparent that HarperCollins permitted its book,
Wouldn’t It Be Nice, to give voice to psychologist Dr. Eugene Landy,
albeit through what was identified as Brian Wilson’s testimony,
even though Dr. Landy was an outside party not named as an author.
Though the book was billed as an autobiography written by Brian Wilson
with Todd Gold, it served also as a platform for Dr. Landy. Half of
Wouldn’t It Be Nice, was devoted exclusively to Brian Wilson’s early
life and the development of the Beach Boys; the other half was
devoted to the story of Brian Wilson’s and the Beach Boys’ later life,
together with a recounting of Dr. Landy’s tours of service as
psychologist to Brian Wilson. Notwithstanding the fact that
Dr. Landy’s persona was a factor in but half of the book, an
inordinate amount of the book’s text was saturated with details
about Dr. Landy. The data demonstrate that reference to Dr. Landy
was made in 26 of the book’s 50 chapters wherein he was specifically
named--as either Dr. Landy or Gene--a total of 809 times.
In contrast, reference to the Beach Boys was made in 46 of the book’s
50 chapters wherein they were specifically named a total of 370 times.
With carefully constructed language, the abundant text focusing on
Dr. Landy was replete with details touting, justifying and defending
his every move; and his competence, methods, ethical integrity and

successes, as well as his positions on controversies to which he was

a party, were explicated thoroughly and precisely.’

 

 

 
 

 

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Competence. According to the book, Dr. Landy’s qualifications
and competence as a psychologist were distinguished and abundant.
He was described as "exceptionally smart" and "a pioneer in the
treatment of drug abuse." He had a reputation for "successfully
treating celebrities and lost causes" and his clients included the
likes of Alice Cooper, Rod Steiger, Richard Harris and Gig Young.
In the case of Brian Wilson, Dr. Landy engineered "one of the all-time
great therapeutic moves ever played," initiated treatment “with
crackerjack precision and scope of a military maneuver," and was the
"conductor of a talented orchestra of medical personnel." He was
credited with creating an environment for Brian that was a
"sensitive, nurturing milieu...free of pressure;" and time and time
again, he was spoken of as having engendered Brian’s trust and as
being his protector. Additionally, Dr. Landy was hailed for his
goodness: "he’d never done anything destructive to me; he’d never
taken advantage of me;" and everything he did was "for my benefit."
Also, according to the book, Dr. Landy was at all times humane,
sensitive and compassionate: “he used affectionate gestures, lots of
hugs, and spoke with kind, understanding words." Moreover, "I knew
Dr. Landy was right; he was always fair; he didn’t put me down; if
I couldn’t do something, he encouraged me." Testimony by Brian Wilson
as to the success of Dr. Landy’s therapy also spoke to Dr. Landy’s

competence, and such testimony was both exuberant and profuse:

 

"I was back from the dead;" "I hadn’t been in such good shape since
high school;" “I was learning to live again;" "I sensed there
wasn’t anything I couldn’t do;" "I felt like a new person;" and

"T wouldn’t have a life if it were not for him."

 
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Methods of Treatment. As noted in the book, Dr. Landy’s
method of treatment "required him to have total therapeutic
authority over the patient and the patient’s environment" and,
accordingly, “under Dr. Landy’s twenty-four-hour therapy, every
hour of the day was planned and accounted for." Within this
context it is logical that the text was rife with details as to
Dr. Landy’s philosophy and procedures, each procedure identified
as to its stage in the therapeutic hierarchy and with respect to
its purpose, execution and accomplishment. The book’s index
gives some insight into the intense focus given to occurrences and
initiatives falling under the rubric of Dr. Landy’s therapy:
breakthrough incident, charade to get Brian Wilson into treatment,
Hawaiian treatment center, as songwriter; Brian’s diet,
driving, new studio, Outward Bound program, in mental hospitals,

and rafting the Rogue River.

Ethical Integrity. Most obvious from the book’s intense focus

 

on Dr. Landy, was the portrait that emerged whereby he was shown to
be a model practitioner with exemplary ethics. At all times in his
dealings with Brian Wilson, Brian’s wife, children, mother, brothers
Carl and Dennis, and the Beach Boys--Dr. Landy was the picture of
restraint, honor and professionalism. It’s as if his every move, as
explained in the book, was scripted to meet the standards promulgated

by the American Psychological Society (APA) in its Ethical Principles

 

of Psychologists. What follows is a selection of behaviors which the
book ascribes to Dr. Landy along with the particular ethical principle

of which said behavior is reflective:

 

 
 

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a) Brian Wilson repeatedly expressed his security in knowing
that Dr. Landy’s commitment was first and foremost to Brian

Wilson: “He was looking out for me and my best interests;" and

"What was his commitment? Helping me. Being there for me."

APA ETHICAL PRINCIPLE: Psychologists define for
themselves the nature and direction of their loyalties
and responsibilities and keep all parties concerned
informed of these commitments.

b) According to Brian Wilson’s account, Dr. Landy was
diligent in keeping the Beach Boys and Brian’s family at bay
and, otherwise, in running interference to protect Brian from
outside pressures that were counterproductive to his recovery.
Also according to Brian, Dr. Landy was very explicit in
informing all parties concerned that "much more important than
being a Beach Boy is being a whole, live, functioning person,"
that "becoming a Beach Boy wasn’t the goal of the therapy,"
and that "his goal wasn’t to make me a functioning piano player
and then hand me over to the Beach Boys."

APA ETHICAL PRINCIPLE: Psychologists make every effort

to protect the welfare of those who seek their services

...and do not knowingly permit their own services to be
used by others for purposes inconsistent with these values.

APA ETHICAL PRINCIPLE: As practitioners, psychologists
are alert to personal, social, organizational, financial,
or political situations and pressures that might lead to
misuse of their influence.

 

 
 

 

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c) According to Brian Wilson, Dr. Landy was explicit and
precise in explaining his philosophy and method of treatment to
Brian’s wife and to the Beach Boys; ‘and that he made certain
to extract first an oral and thena written commitment from
all concerned that he would have total therapeutic authority
over the patient and the patient’s environment, that the
Beach Boys were to remain at arm’s length, and that the
therapy would be uninterrupted.

APA ETHICAL PRINCIPLE: When a psychologist agrees to

provide services toa client at the request of a third

party, the psychologist assumes the responsibility of

clarifying the nature of the relationships to all parties
concerned.

a) The book makes the point that Dr. Landy was explicit and
precise in defining the professional fees and expenses that
would be due for proposed treatment for both Brian Wilson and
his brother Dennis; and it was clear, from the book’s
recounting of the procrastination and negotiations that
followed, that the responsible parties understood full well
their financial obligations. Moreover, according to the
book--when Carl Wilson, empowered by the Brian Wilson Trust,
stopped Brian’s paychecks, Dr. Landy, himself, paid Brian’s
bills for six months.

APA ETHICAL PRINCIPLE: Psychologists make advance

financial arrangements that safeguard the best interests

of and are clearly understood by their clients; they

willingly contribute a portion of their services to work
for which they receive little or no financial return.

 
 

 

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e) According to the book, Dr. Landy and Brian Wilson had
collaborated on a number of songs for therapeutic purposes
without any intention that these songs be used for commercial
purposes: | "It wasn’t good commercial writing...it wasn’t
supposed to be...it was therapy." When the Beach Boys,
surreptitiously and without permission, included some of those
songs on various albums, Dr. Landy was not credited as a
writer nor was he paid royalties, which according to Brian,
he deserved. Dr. Landy did not contest this slight.

APA ETHICAL PRINCIPLE: Psychologists in clinical or
counseling practice do not use their relationships with

clients to promote, for personal gain or
profit...commercial enterprises of any kind.

f) The book has Brian Wilson explaining that Dr. Landy’s
decision not to fight for his license to practice psychology
was based on altruism and concern for Brian’s welfare; that
the voluntary surrender of his license was done "to take the
heat off me" and because the scrutiny of a trial "would be
devastating to everything we’d accomplished." Also, Dr. Landy’s
agreement, in response to the conservator action, to sever all
connections with Brian, is commented on thusly: "Caving in to
the pressure...Gene sacrificed himself for me again."

APA ETHICAL PRINCIPLE: In those areas in which recognized

standards do not yet exist, psychologists take whatever
precautions are necessary to protect the welfare of clients.

APA ETHICAL PRINCIPLE: In their professional roles,
psychologists avoid any action that will violate or
diminish the legal and civil rights of clients...

 
 

 

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Defense of Positions in Controversies. When Dr. Landy was

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charged with demanding salary increases and percentages of tour
grosses, Brian Wilson avers that none of the stories was true.
When Gary Usher's journal, which had noted Brian’s derogatory

comments about Dr. Landy, was presented as evidence in the BMQA
matter-~-Brian explains that Gary was in error when he took his
words literally; that he, Brian, was just venting at Dr. Landy
whom he considered as “family” because that’s what felt safe and
comfortable; and that he was really upset only at himself, not at
Dr. Landy. When Dr. Landy was charged with keeping Brian from
family functions, Brian says, “Wrong! He tried encouraging me to do
family things" and additionally includes a letter which, according

to Brian, Dr. Landy had penned to his brother Carl:

Over the last five years every invitation Brian has extended
to come to his home has been rejected by every member of the
family. Carl, you refused two of his invitations; Brian’s
children refused lunches, dinners, and Thanksgiving dinner at
his home; and your mother was never feeling well enough to
accept several invitations to come to dinner, despite Brian’s
offer to send a limo to pick her up...

Most blatant in this regard, is Brian’s dissection of the

ethical dilemma faced by Dr. Landy in the BMQA matter:

At a certain juncture, he was faced with a dilemma created by
the state’s canon: Is it ethical to take a patient to a
certain point and then leave him there because the ethics say
not to go any further? Should he depart from his traditional
therapeutic process and enter into another role in which he
could help me or should he not help because of an ethical
process? Should he stop at a certain point because ethics
imposed restrictions, or should he throw ethics to the wind and
continue to improve my life? I feel the ethics should fit the
circumstances, not the other way around. In my opinion, I’m
able to write these words only because of the choice he made.”

 

 
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Antithesis: Carl Wilson as Foil to Dr. Landy

 

Through deft use of the rhetorical device antithesis,
HarperCollins’ -book cast Carl Wilson as foil to Dr. Landy whereby
denigration of Carl Wilson would serve to make Dr. Landy seem
admirable by contrast. "Antithesis" is defined as the juxtaposition
of contrasting ideas, often in parallel structure. An antithesis
occurs when both the wording and the sense, or one or other of then,
are opposed ina contrast.19 Early in the Landy half of Wouldn’t It
Be Nice, Brian Wilson, referring to an incident involving the Beach
Boys and Dr. Landy, writes "But that was only the beginning of war
with the Beach Boys." From that point on, antithesis was fundamental
to the book as the weapon of choice to fight Dr. Landy’s war--
whereby a positive portrayal of Dr. Landy would convey the notion of
contrary characteristics as to the Beach Boys, particularly Carl
Wilson; and vice versa, whereby a negative portrayal of the Beach
Boys and Carl Wilson would signal what amounts to praise for
Dr. Landy. The mechanism was set in motion by a series of explicit
juxtapositions!1 and continued throughout as a pattern on both an
explicit and implicit level. The following presents a selection from
the book’s many antithetical messages whereby the portrait of
Dr. Landy is enhanced while that of Carl Wilson is debased:

Whereas Dr. Landy was Brian’s friend,
Carl was Brian’s enemy.

Whereas Dr. Landy was trustworthy,
Carl was scheming and exploitive.

Whereas Dr. Landy was calm and understanding,
Carl was pressuring and insensitive.

 
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Whereas Dr. Landy was Brian’s protector,
Carl was Brian’s spoiler.

Whereas Dr. Landy was interested only in Brian’s health,
Carl was interested only in Dr. Landy’s fees.

Whereas Dr. Landy respected Brian’s dignity and strove for the
protection of his fundamental human rights, Carl acted in ways
that stripped Brian of his dignity and human rights.

Whereas Dr. Landy stood ready to intervene in efforts to save
Dennis’ life--Carl, acting from selfish motives, contributed
to Dennis’ death.

Whereas Dr. Landy was accused of completely dominating Brian,
Carl was unable to make even the simplest decision before
consulting with his spiritual master John Rogers.

Whereas Dr. Landy’s goal was to make Brian well, Carl’s and the
Beach Boys’ goal was to have Brian make records, well or not.

Whereas Dr. Landy was interested only in Brian’s recovery and
the restoration of his health, Carl and the Beach Boys were
interested only in increasing their income.

Whereas Dr. Landy was trying to keep Brian within a therapeutic
regimen, Carl and the Beach Boys wanted to take over and put
Brian to work fulltime.

Whereas Dr. Landy’s method for Brian’s treatment was
constructive therapy, Carl and the Beach Boys signed on to a
method of abuse, belittlement and intimidation.

Whereas Dr. Landy saw Brian as a human being who needed warmth
and family interaction, Carl and the Beach Boys saw him only
as a work horse and money machine.

Antithesis was also the mechanism by which Brian’s wife,
Marilyn Wilson, was debased while Dr. Landy’s image was elevated.
According to the book, similar to Dr. Landy’s "war" with the Beach

Boys was Dr. Landy’s "clash" with Marilyn Wilson who was described

 

 
 

 

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as resentful and jealous of Dr. Landy and as fearful of losing her
heretofore autonomy over house and husband. This despite the
obvious improvements in Brian’s health which, according to the book,
Dr. Landy’s therapy was able to effect. Note the following
antithetical juxtaposition and its implication as to Marilyn Wilson’s
self-serving indifference to her husband’s health:

Marilyn just wanted a household that ran smoothly.

Dr. Landy aimed for much more. He wanted me healthy. ?2

The Incongruity of Brian’s Memory with the Facts Advanced

Though the portrayal of Dr. Landy was presented in the book as
the testimony of Brian Wilson speaking in the first person--Brian
Wilson, by his own admission, often was not sufficiently lucid to
recognize or interpret the goals of Dr. Landy’s therapy or even to
recall the many stages or procedures. In Brian’s words, he had had
a "full-scale breakdown," was "diagnosed as a schizophrenic,"
had been in "seven-year stupor" and walked around with his "eyes,
unfocused and zombielike." On several occasions, he allowed that
his response to Dr. Landy’s initiatives was to roll his eyes back
into their sockets and withdraw and retreat into a world that made
sense to him alone; and admittedly, according to Brian, many of
Dr. Landy’s behind-the-scenes preparations, which were explained in
great detail in the book, led him "down a path he didn’t even know

he was traveling" and went on "unbeknownst" to hin.

 
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In light of Brian Wilson’s self-avowed mental disability
throughout much of the time covered by his narration, and in light
also of his explicit disavowel of insight or personal knowledge
regarding many of Dr. Landy’s initiatives and encounters which were
explained in great detail in the book--a goodly portion of information
which the book advanced about Dr. Landy and others was incompatible
with Brian’s memory or personal knowledge. Such incompatibility
would doubtless have been recognizable to HarperCollins as well as

other readers.

In his acknowledgments, associate writer Todd Gold thanks
nineteen people for their support and assistance; among this list,
Dr. Eugene Landy is accorded the penultimate position, just before
Brian. Because a writer has an interest in making plain the relative
importance of his ideas, the emphatic positions in any piece of
writing are traditionally reserved for the words which express the
most important ideas. And traditionally, the emphatic positions in
writing are the beginning and the end--especially the end.13
By ranking Dr. Landy at the end of a long list of contributors just
before Brian Wilson, the book’s focus and essential character--
associate writer Todd Gold was in essence acknowledging Dr. Landy as

a major contributor, second only to Brian Wilson.

 

 
 

 

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Finally, given Brian Wilson’s self-avowed mental disability
during much of Dr. Landy’s tenure in addition to his explicit
disavowel of personal knowledge regarding many of Dr. Landy’s
initiatives, and given the book’s fully detailed account and
obvious glorification of Dr. Landy--it follows that the major
contribution of Dr. Landy to the writing of the book (as acknowledged
by associate writer Todd Gold) necessarily directed the tenor of the
story, at least with regard to Dr. Landy’s own portrayal and that of
his chief adversaries: the Beach Boys, particularly Carl Wilson.
Clearly, such reasoning would have been recognizable to HarperCollins

as well as other readers.

 

 
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FOOTNOTES

lin content Analysis parlance, the designated passage was the
"designated grammatical unit" for the analysis.

2tn Content Analysis parlance, the assertion was the
"recording unit" for the analysis.

3calculated by means of a "Coefficient of Reliability" formula
presented in Ole R. Holsti, Content Analysis for the Social Sciences
and Humanities, (Reading, Mass.: Addison Wesley, 1969, p. 140.

“The Coding Manual serves to enhance reliability of the
research project. and to assure replicability. It is presumed that
subsequent researchers, following the rules and procedures set forth
in the Coding Manual would arrive at similar results.

Stn a telephone conversation on September 4, 1996 with
Darnetta Bascomb of the American Psychological Association’s
membership office, this researcher was advised that Dr. Eugene Landy
was a member in good standing from 1969 through 1990.

®In documents entitled variously, Ethical Standards of
Psychologists and Ethical Principles of Psychologists for the years
1977, 1979 and 1981, the following statement--or one that is similar--
is included: “Acceptance of membership. in the American Psychological
Association commits the member to adherence to these principles."

7and also, events were recounted earlier in the book that would
serve as rebuttal to charges made later. For example, recounting of
Marilyn’s rebuff of Dr. Landy’s suggestion that Brian’s daughters
sing on his latest soundtrack in addition to detailed descriptions of
Dr. Landy’s efforts to keep up Brian’s ties with his family: flowers
and birthday gifts in Brian’s name (both on p.332)--served to give
lie to charges in the conservator action (identified on p. 373) that
Dr. Landy prevented Brian from having a relationship with his wife
and daughters.

 

 
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8wilson, Brian with Todd Gold, Wouldn’t It Be Nice:
My Own Story, (New York: HarperCollins Publishers, 1991), p. 383.
94,;
Ibid., p. 351.

10corbett, Edward P.J., Classic Rhetoric for the Modern Student,
3a ed. (New York: Oxford University Press, 1990), p. 429.

 

1lFor example, note the following explicit antithetical
juxtapositions that would serve to generate a positive message
about Dr. Landy while signaling what amounts to negative criticism
of Carl Wilson:

p. 247 "My life became hell under these three hypermacho
watchdogs [ordered by the Beach Boys]. In contrast
to Dr. Landy’s constructive therapy...."

p. 273 "Within a week Carl in Dr. Landy’s office, asking how
much the treatment would cost...Predictably, the
first thing they wanted to discuss wasn’t my health,
it was Dr. Landy’s fee. ‘Are we here to talk about
my fees or are we here to talk about Mr. Wilson?’

Dr. Landy asked."

p. 312 "Carl needed longer to make up his mind. The price
was too steep...Beyond that, Carl didn’t want to
upset his family’s holiday plans by having, as Dr.
Landy suggested, an intervention...Dr. Landy told
Schilling to tell Carl he was making a grave error.
Whether he knew it or not, Dennis was on a self-
destructive binge heading. in only one direction.
Carl was adamant, though; he didn’t want to deal
with the problem until after New Year’s"

12wilson, Ob Cit., pp. 221-222.

13Greever, Garland and Easley S.Jones, The Century Handbook

 

of Writing, 4th ed., (New York: Appleton-Century-Crofts, 1942), p. 85.

 

 
 

 

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Media Analysis &
Communications Research

Marilyn A. Lashner, PhD

 

 

CODING MANUAL

Re: Carl Wilson, et al. vs. HarperCollins Publishers, Inc.

 

Developed by Marilyn A. Lashner, Ph.D.

ee Governber- 12,1996

Marilyn A. Lashner, Ph.D. Date

EXHIBIT

1341 Gilbert Road
Meadowbrook, PA 19046
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CODING MANUAL

Re: Carl Wilson, et al. vs. HarperCollins Publishers, Inc.

 

Developed by Marilyn A. Lashner, Ph.D.

The content analysis used in this research begins with the
original sentences as published and ends with a full rhetorical
dissection of the communications-at-issue with regard to meanings
and information that would be understood by the average person.

The end result of said analysis would generate banks of assertions
organized around particular themes chosen for their relevance to
the research at hand. Where appropriate, such aspects as sources
and attributions on the part of the writer/publisher are identified

and addressed.

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For purposes of this research, information is defined in terms
of statements, inferences and innuendos; and communication is
defined in terms of meanings exchanged between the writer/publisher

of the message and the average reader.

The procedures involve six distinct stages:

Stage I: Pilot Study

Stage II: Identification of Categories

Stage III: Identification of Sources and Attributions
Stage IV: Dissection of Original Message into Assertions
Stage V: Check for Accuracy and Reliability

Stage VI: Determination of Conclusions

 

 

 
 

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Stage I: Pilot Study

 

Using content categories determined at time of initial review,
a pilot study is to be conducted, by employing procedures identified
below, to content analyze the passages-at-issue in the book,
Wouldn’t It Be Nice, an autobiography written by Brian Wilson with
Todd Gold. Said pilot study is classically undertaken for the
purpose of constructing appropriate categories by trial and error
methods and for determination of rules designed to imbue the study
with objectivity and system. The pilot study and the research as a
whole are undertaken to identify meaning such as would have been
understood by the average reader with regard to portrayal of the

plaintiffs in the instant case: Audree Wilson and Carl Wilson

 
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Stage II: Identification of Categories

The focus of content analysis is on categories which represent
the topics being discussed in the communications-at-issue and which,
in operational terms, are pigeonholes into which the content units
are to be classified. In this present analysis, fifteen mutually
exclusive and independent categories were designated as relevant
for study: six focusing on Audree Wilson; and nine focusing on
Carl Wilson. Determined as a result of the pilot study, the

following category scheme is to form the basis of the analysis:

Re: Audree Wilson

 

(2) CHARACTER
(2) MOTHERLINESS
(3) ALLEGIANCE
(4) RESOLVE

(5) ACTIONS

(6) CRIMINALITY

Re: Carl Wilson

 

(7) CHARACTER
(8) ACTIONS
(9) ALLEGIANCE
(10) BROTHERLINESS
(11) MOTIVATION
(12) SUBSTANCE ABUSE
(13) LEGALITY
(14) CRIMINALITY
(15) COMPARISON WITH DR. LANDY

CHARACTER refers to the sum total of physical, mental, emotional
and social characteristics which portray each of the plaintiff’s
individual nature, personality and manner. Included are references

to temperament, disposition, sensitivity, empathy and state of mind.

 

 

 
 

 

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Particular actions would trigger assertions as to character. For
example, a reference that Audree Wilson "refused to intercede in the
flagrant child-abuse going on in front of her" would trigger an
assertion that her character was cruel and unfeeling; anda
reference that "the first thing [Carl] wanted to discuss wasn’t
[Brian’s] health, it was Dr. Landy’s fee," would trigger a reference

to Carl’s character as dispassionate and grudging.

ACTIONS refers to all acts, deeds and behavior performed by
plaintiffs Audree Wilson or Carl Wilson. Included in this category
are references to Audree Wilson’s never opposing her husband in his
abuse of their children, refusing to intercede in the child abuse
going on around her, and complying with her husband’s command that
Brian not have dinner for two nights; and references to Carl
Wilson’s shutting Brian out, and needing to consult with numerous
people before making decisions. Not included in this category are

references to Carl Wilson’s SUBSTANCE ABUSE.

ALLEGIANCE refers to loyalty, devotion or adherence toa
person or cause that has a legitimate claim to one’s support.
Included here are references when choices are made between competing
legitimate claims. Such references would include indications of
Audree Wilson’s allegiance to her husband’s agenda at the expense of
her children, or Carl Wilson’s allegiance to the Beach Boys’ agenda

even if he meant sacrificing support for his brother Brian.

 

 
 

 

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SUBSTANCE ABUSE refers to use of any of a category of behavior
altering or addictive drugs, such as heroin, which possession and
use are restricted by law. Included here are references to Carl
Wilson’s admitting his involvement in the purchase of heroin. Not
included are references to Audree Wilson’s or Carl Wilson’s usage

of alcoholic beverages.

MOTHERLINESS refers to the demonstration of characteristics
befitting, resembling or characteristic of a mother toward her
child, which characteristics would include love and affection for
that child and the tendancy to watch over, nourish and protect hin.
Particular actions on the part of Audree Wilson would trigger
assertions as to her motherliness. For example, references that
Audree Wilson "refused to intercede in the flagrant child abuse
going on in front of her" and that she “almost never rose up and
defended her children" would trigger assertions that Audree Wilson
was an unfit mother and that she willfully permitted her children
to be physically and psychologically injured by their father’s

continual abuse.

BROTHERLINESS refers to characteristics befitting the
treatment of one brother toward another, which characteristics
would include a shared background with, and love and affection for,
one’s brother and the tendancy to watch over and be protective of
him. Particular actions on the part of Carl Wilson, such as would
affect his brother Brian, would trigger assertions as to Carl’s

brotherliness. For example, a reference that "predictably, the

 
 

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first thing [Carl] wanted to discuss wasn’t [Brian’s] health, it
was Dr. Landy’s fee" would trigger assertions to Carl Wilson’s
brotherliness: - that he begrudged spending the money for Brian’s

treatment and that he put money above Brian’s health.

RESOLVE refers to an emphatic determination or decision to
behave in a particular way toward a particular event or series of
events. Particular actions on the part of Audree Wilson would
trigger assertions as to her resolve. For example, references that
Audree Wilson "refused" to intercede in her husband’s flagrant
child abuse would trigger an assertion that Audree Wilson was
resolute in her determination to permit the flagrant abuse
inflicted by her husband on her children. This, by virtue of a
consensus of dictionaries which define "refuse" as a positive,
unyielding decision not to act, accept or do something; and the

notation by the Random House Dictionary of the English Language

 

 

that the word “implies a direct and emphatic expression of

determination not to accept what is offered or proposed."

MOTIVATION refers to the desires, needs, goals or similar
impulses held by persons and to their overriding aim or purpose as
it appears to be from behavior, expressions and communications.
Particular actions on the part of Carl Wilson would trigger
assertions as to his motivation. For example, a reference

to Carl Wilson’s and the Beach Boys’ "Brian is Back" publicity

 

 
 

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campaign that was "designed to exploit" Brian Wilson and to “sell
his illness"--would trigger an assertion as to Carl Wilson’s
motivation: that his behavior toward Brian stemmed from selfish

motives and for his own private ends rather than for Brian’s benefit.

LEGALITY refers to adherence or observance of the law and to
violations thereof. For example, illegality would apply to Carl
Wilson’s failure to administer The Brian Wilson Trust of 1982 in
accordance with statutory provisions in Sections 16002(a), 16004

and 1608(a) of The California Probate Code which define,

 

respectively, the following standards of care and duties for
trustees of revocable living trusts:
-to administer the trust solely in the beneficiaries’ interests;
~to avoid a conflict of interests;

-to exercise discretion in accordance with fiduciary principles,
in good faith, and with regard for the trust purposes.

CRIMINALITY refers to guilt of criminal behavior as per state
or federal laws. For example, criminality would apply when Audree
Wilson’s actions regarding the abuse of her children conform to all
or part of the following laws:

Any person who, under circumstances or conditions likely to
produce great bodily harm or death, willfully causes or permits
any child to suffer, or inflicts thereon unjustifiable physical
pain or mental suffering, or having the care or custody of any
child, willfully causes or permits the person or health of that
child to be injured, or willfully causes or permits that child to
be placed in such a situation that its person or health is
endangered...{is guilty of a crime]

California Penal Code

 

Section 273(a)

 

 

 
 

 

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Any person who, under circumstances or conditions other than
those likely to produce great bodily harm or death, willfully
causes or permits any child to suffer, or inflicts thereon
unjustifiable physical pain or mental suffering, or having the
care or custody of any child, willfully causes or permits the
person or health of that child to be injured, or willfully causes
or permits that child to be placed in such a situation that its
person or health may be endangered, is guilty of a misdemeanor.

California Penal Code
Section 273(b)

 

The court affirmed a mother’s conviction under the Penal Code
where evidence showed that "some of the child abuse [committed by
her boyfriend] took place while the mother was present and the
balance outside her physical presence but within her hearing, or
otherwise soon came to her attention" and that "by her own
account, defendant’s failure to act resulted either from a
considered and resolved desire to keep her male friend from
leaving, or fear of him if she intervened."

People v. Figueroa,
167 Cal. App. 3d 981,

213 Cal. Rptr. 676 (Cal.
Ct. of Appeals 1985)

Abuse of a child consists of a person knowingly, intentionally or
negligently...causing or permitting a child to be: (1) placed in
a situation that may endanger the child’s life or health; [or]
(2) tortured, cruelly confined or cruelly punished...

Whoever commits abuse of a child which does not result in the
child’s death or great bodily harm is, for a first offense,
guilty of a third degree felony and for second and subsequent
offenses is guilty of a second degree felony. If the abuse
results in great bodily harm...he is guilty of a first degree
felony.

New Mexico Statute,
Section 30-6-1.

 

 
 

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And also, based on the provisions in Section 6 of New Zealand’s

Misuse of Drugs Act of 1980 and the Customs and Excise Act of 1996,

 

 

which makes it an offense to import such prohibited products as
narcotics--criminality would apply when reference is made to Carl

Wilson’s being a party to the smuggling of. heroin into New Zealand.

COMPARISON WITH DR. LANDY refers to information generated
through such rhetorical devices as antithesis whereby information
portraying Carl Wilson is juxtaposed with sharply contrasting
parallel information portraying Dr. Landy. For example--in the
context of Dennis Wilson’s severely compromised mental health and
prior to his death--when Dr. Landy’s plans for treatment of
Dennis were put off by Carl Wilson who "needed longer to make up his
mind," felt the “price was too steep," and "didn’t want to upset his
family’s holiday plans by having, as Dr. Landy suggested, an
intervention in Lake Arrowhead,"--the following comparison would be
generated: while Dr. Landy stood ready to try to save Dennis’ life,

Carl, acting from selfish motives, contributed to his death.

 
 

 

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Stage III: Identification of Sources and Attributions

A legend, referencing various prefixes and typefaces--to be
used in the coding of each assertion--is to be created for
identification of the nature of such information as is presented in
the communication (i.e., statement or inference); and for
identification, also, of source and attributions as appropriate to

every assertion of the communication.

Accordingly, for purposes of this research, each assertion is

to be coded in terms of the following legend:

 

Pica Type Not Indented: Language Verbatim: as Published
Indented & Underlined: Information by Statement
Indented & Not Underlined: Information by Inference

Prefix:

BW Attributed to Brian Wilson

(by use of first person or,
otherwise, as indicated by context)

EL Attributed to Dr. Eugene Landy

 
 

 

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Stage IV: Dissection of Original Message into Assertions

For this research, the designated grammatical unit is the
"designated passage," defined for this research as: a finite segment
of language such as was excerpted from the book-at-issue and

designated in the plaintiffs’ SECOND AMENDED COMPLAINT FOR LIBEL in

 

Paragraph 10 as statements of and concerning Audree Wilson;
Paragraph 19 as statements of and concerning Carl Wilson; and
Paragraph 30 as statements of and concerning the Beach Boys; which
finite segment of language may include one or more phrases,
clauses, sentences or paragraphs--in their original order or with

an ellipsis to designate omission of a word or words.

All in all, there is a total of twenty-seven designated passages
which are to be subjected to content analysis. Of the designated
passages, 3 focus on Audree Wilson, 13 on Carl Wilson, and 11 on the
Beach Boys. The designated passages focusing on the Beach Boys are
to be analyzed in terms of the "Carl Wilson categories" on the
assumption that, and to the extent that, they are deemed relevant to

Carl Wilson, individually, or as a member of the Beach Boys.

 
 

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The recording unit for this analysis is the “assertion;" and
the assertion-forming analysis would proceed designated passage by
designated passage. The objective at this stage is to dissect the
language of each designated passage into an exhaustive set of
assertions, each assertion physically placed within its relevant
category. For purposes of this research, "assertion" is defined as
a linguistic construction comprising a single item of information
about a designated subject. A single passage may harbor multiple
items of information and thereby generate multiple assertions.

Assertions may represent statements, inferences or innuendos.

At all times, the various passages are to be analyzed in terms
of the context in which they occurred; where "context" is defined
as the whole structure of a literary work with regard to its bearing
upon any of the parts which constitute it; and where the meaning of
any designated passage is determined, in part, on its relationship
to the book as a whole and to the effect of the parts which

immediately precede and follow.

The following rules apply to assertion-forming:

1. Design worksheets so that each page is identified by a header
with the category name and where each new category begins with page #1.

2. As a preliminary function, on an unprepared sheet of paper,
proceed with assertion-identification on a passage by passage basis
as indicated below.

 
 

 

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3. Preliminary assertion-identification includes the following steps:

a) Identify the passage under analysis with a numeric
phrase placed in the upper left hand margin; said
numeric phrase is to include: the number of the passage
to which the work refers; the letter "A," "C," or "B" to
indicate focus respectively on Audree Wilson, Carl Wilson,
or the Beach Boys; and the page number from the book on
which the passage occurs. (Example: 1-A-27)

b) Follow the original language of the passage under analysis
with an exhaustive array of the assertions thereby
generated.

c) Where other language is important to the context of the
passage under analysis, include said other language after
reproduction of the passage under analysis and label it
"CONTEXT."

da) For each assertion, record by prefix, or otherwise as
indicated, the relevant identification data.

e) In the margin before each assertion, indicate the
specified category label to which assertion applies.

f) Note that one sentence may be comprised of multiple
clauses or phrases and each may carry its own meaning;
and that a single sentence may generate assertions
relevant to multiple categories.

g) Type original language as published so as to begin on
Column 1; below original language, type category label in
column 1; indent prefixes so as to begin on Column 11;
indent assertions so as to begin on Column 16;

4. Once the preliminary assertion-identification is complete for
each passage, proceed to prepared worksheets and physically place
the original copy plus the individual assertions into their relevant
categories.

5. The prepared worksheets for each category should present an
assemblage--on a passage by passage basis--of the assertions
relevant to the research questions.

6. Follow all principles of grammar and rhetorical theory to
identify meanings and inferences as per the context.

 
 

 

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7. Inferences can be generated from a variety of mechanisms and
rhetorical devices, among which are: context including order and
arrangement of rhetorical parts; transitional terms; qualification;
connotations; slang and colloquialisms; figures of speech; logical
structure; and techniques of persuasion.

8. When premises of a logical syllogism are stated in the
Story, identify an assertion for the conclusion which would
logically follow even if that conclusion is not stated in the
article. Identify such an assertion as an inference.

9. Where premises of context logically suggest several alternative
inferences, identify assertions for those alternatives that comply
with the immediately surrounding context.

10. Where two opposite sets of facts are stated or implied, or
when a statement appears to be the antithesis of what is actually
meant, or when figurative language implies meaning that is

other than the literal statements, identify assertions that
support the context. Identify all such assertions as inference.

11. Where an inference is suggested because of context created
by order and/or arrangement of sentences, paragraphs, sets of
paragraphs or other rhetorical parts, identify such an assertion
as an inference.

12. When information is presented via a rhetorical question, select
the meaning that supports the context; identify such an assertion
as an inference.

13. When coding for Audree Wilson, place the prefix "A-" before each
category label.

14. When coding for Carl Wilson, place the prefix "C-" before
each category label.

 
 

 

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15. When information contained in references conform to parameters in
the following laws (articulated on pp. 7-9 above), create assertions
including the language of those parameters:

For Audree Wilson, re child abuse: California Penal Code
Section 273(a)

California Penal Code
Section 273(b)

People v. Figueroa,

167 Cal. App. 3d 981,
213 Cal. Rptr. 676 (Cal.
Ct. of Appeals 1985)

New Mexico Statute,
Section 30-6-1.

 

For Carl Wilson, re heroin: New Zealand’s Misuse of
Drugs Act of 1980,
Section 6

New Zealand’s Customs and
Excise Act of 1996

For Carl Wilson, re trusteeship: California Probate Code
Sections 16002(a), 16004 and
1608 (a)

 
 

 

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Stage V: Check for Accuracy and Reliability

 

Coding reliability is basic to any systematic approach; it
presupposes that repeated measures with the same instrument on a given
communication should yield similar results. Coding reliability is a
function of the coder’s skill, insight, experience; and clarity of

categories and coding rules which guide their use.

To enhance reliability all assertions are to be checked for
accuracy. After a period of at least several days, the assertions
are to be rechecked and an intra-coder reliability coefficient is to
be computed. By means of the following formula presented in Ole R.

Holsti, Content Analysis for the Social Sciences and Humanities,

 

(Reading, Mass.: Addison Wesley, 1969), the computations will
determine the ratio of coding agreements to the total number of

coding decisions:

2M

N(1) + N(2)

where N(1) and N(2) = the number of coding decisions made in the
first and second checks, respectively; and

where M = the number of coding decisions on which the two checks are

in agreement.

 
 

 

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Stage VI: Determination of Conclusions

 

After creating an exhaustive set of assertions relevant to each
of the designated categories, compute numerical data on assertion
counts relevant to various aspects of the research; and review
substance of assertions for trends and patterns. Create conclusions

descriptive of the trends and patterns evidenced generally and for

each of the relevant categories.

Also construct "banks of information" appropriate to each
category. Defined as an amassment of detailed information that
summarizes the gist of the accumulated assertions relevant to a
particular category, a bank of information will consolidate the
accumulated assertions into a detailed summary statement and it may
include stringing together several items of information deemed of

particular significance.

 
 

 

 

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BEYOND SCIENTIFIC CONTENT ANALYSIS

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The third purpose of the instant research project: to identify
and describe the extent to which HarperCollins permitted their
publication to give voice to Dr. Eugene Landy-~is not to be
addressed by the scientific content analysis described above, but
rather by an informal review of other passages selected by the
researcher to represent statements of and concerning Dr. Landy in
the following areas: COMPETENCE; METHODS OF TREATMENT; ETHICS;
EFFECTS; and POSITION ON CONTROVERSIES. Said selected passages
are not intended to be an exhaustive representation of information
contained in the book regarding Dr. Landy, generally, or in terms of

any of the specified categories.

For the above-named categories, the following definitions apply:
COMPETENCE--the education, training or experience necessary to be a
psychological practitioner and to the ability, faculty, skill or
expertise with which psychological practitioner Dr. Eugene Landy
offered services appropriate to the psychological needs of his
patient, Brian Wilson; METHODS OF TREATMENT--the philosopy
underlying Dr. Landy’s practice of psychology and the techniques,
procedures and course of action utilized by him in the treatment of
Brian Wilson; EFFECTS--the comprehensive result regarding the
emotional and physical soundness of Brian Wilson as caused or

influenced by the treatment and therapy administered by Dr. Landy;

 

 

 
 

 

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POSITION ON CONTROVERSIES~-the avowed stance of Brian Wilson and

Dr. Landy, as expressed by Brian Wilson, on controversies affecting
Dr. Landy such as the BMQA and conservator controversies, including
the various charges associated with each; and ETHICS--compliance
with principles promulgated by the American Psychological Association

in various versions of their document entitled Ethical Principles of

 

Psychologists, such as were in effect over the years 1975 to 1988,
the period during which Dr. Landy allegedly administered professional
treatment to Brian Wilson. A selection of said principles follows,
and Dr. Landy’s professional behavior, as explained in the book,

should be reviewed in light of these principles:

a) Psychologists respect the dignity and worth of the
individual and strive for the preservation and protection of
fundamental human rights.

b) Psychologists make every effort to protect the welfare of
those who seek their services...and do not knowingly permit
their own services to be used by others for purposes
inconsistent with these values.

c) Psychologists define for themselves the nature and
direction of their loyalties and responsibilities and keep all
parties concerned informed of these commitments.

a) As practitioners, psychologists are alert to personal,
social, organizational, financial, or political situations and
pressures that might lead to misuse of their influence.

e) When a psychologist agrees to provide services to a client
at the request of a third party, the psychologist assumes the
responsibility of clarifying the nature of the relationships
to all parties concerned.

f) Psychologists make advance financial arrangements that
safeguard the best interests of and are clearly understood by
their clients; they willingly contribute a portion of their
services to work for which they receive little or no financial
return.

 

 
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g) Psychologists only provide services and only use
techniques for which they are qualified by training and
experience. In those areas in which recognized standards do
not yet exist, psychologists take whatever precautions are
necessary to protect the welfare of their clients.

h) Psychologists in clinical or counseling practice do not
use their relationships with clients to promote, for personal
gain or profit...commercial enterprises of any kind.

i) In their professional roles, psychologists avoid any
action that will violate or diminish the legal and civil
rights of clients or of others who may be affected by their
actions.

 

 
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RESEARCH DEFINITIONS

ASSERTION - a linguistic construction comprising a single item of
relevant information.

BANKS OF INFORMATION ~- an amassment of detailed information that
summarizes the gist of the accumulated assertions relevant to a
particular category, a bank of information will consolidate the
accumulated assertions into a detailed summary statement and it may
include stringing together several items of information deemed of
particular significance.

COMMUNICATION - meanings exchanged between the writer/publisher of
the message and the average reader.

CONTEXT - the whole structure of a literary work with regard to its
bearing upon any of the parts which constitute it; and where the
meaning of any designated passages is determined, in part, on its
relationship to the book as a whole and to the effect of the parts
which immediately precede and follow.

DESIGNATED PASSAGE a finite segment of language such as was
excerpted from the book-at-issue and designated in the plaintiffs’
SECOND AMENDED COMPLAINT FOR LIBEL in Paragraph 10 as statements of
and concerning Audree Wilson; Paragraph 19 as statements of and
concerning Carl Wilson; and Paragraph 30 as statements of and
concerning the Beach Boys; which finite segment of language may
include one or more phrases, clauses, sentences or paragraphs--in
their original order or with an ellipsis to designate omission of a
word or words.

INFORMATION - communication in terms of statements inferences and
innuendos.

RELEVANT INFORMATION - information focusing on one or more of the
various categories identified above.

SELECTED PASSAGES - a finite segment of language such as was
excerpted from the book-at-issue and selected by the researcher
to represent statements of and concerning Dr. Eugene Landy in the
following areas: COMPETENCE; METHODS OF TREATMENT; ETHICS;
EFFECTS; and POSITION ON CONTROVERSIES; where said selected
passages were not intended to be an exhaustive representation of
information contained in the book regarding Dr. Landy, generally,
or in terms of any of the specified categories.

 

 

 
